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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION



FAIR FIGHT ACTION, INC, et al.,
     Plaintiffs,
     v.                                      Civ. Act. No. 18-cv-5391
                                             (SCJ)
BRAD RAFFENSPERGER, et al.,
  Defendants.



             EXPERT REPORT OF STEPHEN C. GRAVES
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My expert Report is attached.


My hourly rate for these services is $300 per hour.

In 2017 I was engaged as an expert witness by New York City for

 EVE SILBERBERG; JENNIFER REBECCA WHITE; AND MICHAEL
 EMPORER,
 Plaintiffs,
 - against -
 BOARD OF ELECTIONS OF THE STATE OF NEW YORK, et al.,
 Defendants
 16 CV 8336 (PKC) .

And prepared a report, and was ‘cross-examined’ in court. (testified live)


Also in 2017, I was engaged as an expert witness by state of Michigan for

MI State A. Philip Randolph Institute, et al. v Ruth Johnson, USDC-ED No. 16-cv-11844.

I prepared a report and then testified by deposition.



Sincerely,



Stephen C. Graves
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                         Waiting Times in Fulton County, November 2018 Election

                                              Stephen C. Graves

                                                December 2019

In this memorandum I report on the analysis that I did with election-day data from Fulton County. This
data was collected as part of a nationwide study conducted by the Bipartisan Policy Center (BPC) and
researchers from Massachusetts Institute of Technology (MIT), with an intent to estimate wait times at
the polls during the 2018 midterms. Based on my analysis that I report here, it is my opinion that the
general findings in the BPC/MIT report 1, for the case of Fulton County in Georgia are accurately stated.
As shown in the BPC report, Fulton County, Georgia had the longest wait times of the 3,119 polling
places surveyed nationwide. In the following I will first describe the data and how it was collected, then
the analysis and finally the results.

Data

Each polling site in Fulton County was asked to record the number of voters waiting in line at hourly
intervals, starting with the time at which the site opened and ending at the hour at which the site
closed. In Fulton County, all sites opened at 7 AM and then closed at 7 PM.

In Appendix I of this note, I include an example of the data collection sheet. The BPC/MIT report, pp 11-
13, provides a general overview of the data collection process.

For Fulton County, this data sheet was completed and collected from 83 polling sites. We obtained
these data sheets from the county in response to an open records request. For each data sheet I made a
judgment as to whether or not it was usable for my analysis.

Some sheets were deemed unusable because the poll worker recorded the wrong data; for instance, in
each hour the number of votes cast was reported rather than the number of voters in line.

Other sheets were deemed unusable due to missing data. Here I had to make a judgment. If there were
only a few missing observation, spread over the day, then I kept the data sheet if I thought that I could
make a reasonable interpolation for the missing data from the recorded observations. However, if there
were a substantial number of missing observations, or missing observations during critical times of the
day (e.g., when the polls open), then I discarded the data sheet.

Based on this review of the data, I was able to use the data submitted from 68 polling sites, which
account for 135 precincts. Over 59,000 voters voted at these polling sites on election day, 2018.

Analysis

For the data collected at each site, we can estimate the average wait time for a voter at that site. We
accomplish this by an application of Little’s Law 2 from queuing theory. An overview of the analysis is



1
  “The 2018 Voting Experience: Polling Place Lines”, November 2019, available at
https://bipartisanpolicy.org/report/the-2018-voting-experience/, by Mathew Weil, Charles Stewart III, Tim Harper,
Christopher Thomas.
2
  Little, John DC, and Stephen C. Graves. "Little's law." Building intuition. Springer, Boston, MA, 2008. 81-100.

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described in the BPC/MIT report, pp 14-16. More details and background on the analysis are in the
report “Managing Polling Place Resources” 3.

The analysis requires the number of voters who cast ballots at each location. I used two sources of data
to determine this count. One was the data sheets; however, many of the data sheets did not report this
number. The second source was obtained from the web site
https://results.enr.clarityelections.com/GA/Fulton/91700/Web02.221448/#/turnout, which provided
counts of the number of votes cast for each candidate in each race. I used the total number of votes
cast for governor as a count on the number of voters who cast ballots at each site; this count misses
undervotes, and thus will under count the number of voters. Hence, for my analysis, I use the larger
number from the two sources.

The estimates of wait time cover only the time period during which the polling site was open. In Fulton
County this was from 7 AM to 7 PM. As such, these estimates do not include the time that voters might
have waited before the site opened at 7 AM.

Results

In Appendix 2, I report the estimate of average wait time for each of the 68 polling sites for which we
had usable data. The polling sites are denoted by the precincts that share the site. I also report my
estimate of the number of voters on election day, and the fraction of registered voters that are Black for
the site 4.

The average wait time across the sites is 19.1 minutes with a standard deviation of 13.9 minutes. If we
weight the sites by the number of voters, then the average wait time becomes 18.6 minutes.

One polling site (precinct 6R) has an estimated wait time of 78.4 minutes. This is about four standard
deviations above the mean, and as such, qualifies as an outlier. I decided to remove it from the sample
so that it would not skew the analysis. After removing this site, the average wait time across the sites
becomes 18.2 minutes with a standard deviation of 11.9 minutes. If we weight the sites by the number
of voters, then the average wait time drops to 17.9 minutes.

In the figure below I plot the average wait time by the % Black registered voters at each polling site, and
show a trend (regression) line. The regression shows the relationship between average wait time and
the % of Black voters. As an interpretation, it says that the average wait time for a polling site with 0%
Black voters (x = 0) is 16.2 minutes (y = 16.2), whereas the average wait time for a polling site with 100%
Black voters (x = 1) is 20.5 minutes (y = 4.3 + 16.2 = 20.5). And that between these two extremes, the
wait time grows by 0.43 minutes for each increase of 10% in the percent of Black voters.

For an additional analysis, I split the sites into two sets depending on whether or not the percent of
Black registered voters was more of less than 50%. As is evident from the figure the sites separate quite
cleanly into two sets, Black majority sites (with 26000 election day voters) and non-Black majority sites
(with 32000 election day voters). For each set I then found the average wait time, weighted by the



3
 Stewart III, Charles. "Managing polling place resources." Caltech/MIT Voting Technology Project Report (2015).
4
 The data for number of registered voters and their race comes from “precinct locator file”, available from Fulton
county site: https://www.fultoncountyga.gov/services/voting-and-elections/precinct-locator

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number of votes cast at each site. The average wait time for Black majority sites was 18.8 minutes,
versus 17.2 minutes for non-Black majority sites, a difference of 1.6 minutes.




        Figure: On the X-axis is the fraction of registered voters that are Black; on the Y-axis is the
        average wait time, in minutes. Each blue dot corresponds to a polling site. The red line is the
        trend or regression line fitted to these points.




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Appendix I




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Appendix II

 Polling Site                          #voters   ave wait   % black
                                                 (min)

 01C, 01S                              822       17.52      0.77
 01D, 01E                              1263      28.72      0.31
 01P                                   361       22.27      0.82
 01T                                   478       37.53      0.55
 03B,03H,09I                           536       4.89       0.80
 03L                                   180       15.58      0.80
 03P1A,03P2                            1000      13.67      0.29
 04C,04D                               465       22.26      0.81
 04I                                   203       4.73       0.61
 06B,06J                               1459      48.20      0.03
 06R                                   669       78.43      0.17
 07A                                   1747      5.00       0.14
 08A                                   719       14.69      0.13
 08F1                                  542       23.86      0.02
 08G                                   684       11.97      0.20
 08M                                   533       23.02      0.04
 08D,08N1,08N2                         688       6.36       0.08
 09D                                   479       11.96      0.84
 09M                                   611       12.91      0.31
 10B,10I                               880       1.70       0.84
 10G,10H1,10H2,10K,11H                 1303      6.31       0.83
 10J                                   283       18.23      0.81
 10P                                   421       37.91      0.84
 10R                                   232       7.11       0.87
 11B                                   1026      9.21       0.85
 11C                                   427       16.30      0.85
 11G,12I,12L                           656       3.52       0.84
 11K                                   448       17.61      0.81
 11P                                   511       26.89      0.84
 12E1,12H1,12H2,12J                    1793      21.58      0.82
 12F                                   252       30.83      0.76
 AP07A,AP07B                           1272      19.66      0.10
 AP09A,AP09B                           1130      7.03       0.10
 CP01B,CP011,CP012,CP02,CP04A,CP04B    829       7.17       0.57
 CP081,CP083,CP084,CP08A,SC10          525       30.97      0.84
 EP02A,EP02B,EP02C,EP02D,EP02E         1432      14.90      0.64
 EP03A,EP03B                           1536      38.40      0.77


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FA01A                                       839    21.20   0.73
FA01B                                       1242   46.60   0.67
FA01C                                       189    35.40   0.74
JC01                                        1327   15.96   0.09
JC03A,JC03B                                 577    21.27   0.13
JC06                                        695    16.10   0.12
JC07                                        956    12.11   0.11
JC09                                        716    1.51    0.14
JC11                                        812    12.49   0.10
JC12,JC14                                   1164   13.32   0.06
JC13A                                       564    7.18    0.04
JC18                                        710    6.67    0.07
ML021,ML022,ML023,ML024                     1070   4.67    0.04
ML03,ML071,ML072,ML07A                      1632   10.88   0.04
RW01                                        1492   19.60   0.05
RW05                                        616    17.34   0.23
RW09,RW19                                   2235   38.93   0.05
RW20                                        462    4.94    0.10
RW22A                                       949    17.39   0.25
SC01B,SC01A,SC01C,SC20,FC01                 945    34.89   0.82
SC04                                        348    39.48   0.53
SC08B,SC08C,SC08D,SC08E,SC08F,SC08G,SC08H   1148   7.94    0.82
SC15                                        1162   19.54   0.81
SC16A,SC16B                                 790    8.92    0.84
SC19B,SC19A                                 329    34.65   0.82
SC30A,SC30B                                 222    37.30   0.84
SS01                                        1338   31.50   0.05
SS05,SS06                                   1065   20.39   0.04
SS11A,SS11B,SS11C,SS11D,SS13A,SS13B         2374   6.91    0.16
UC01A,UC01B,UC01D,UC01E                     1016   9.71    0.81
UC02A,UC02B                                 1717   3.38    0.79




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The 2018 Voting
Experience


POLLING PL ACE LINES



November 2019
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DISCLAIMER
The findings and recommendations expressed herein do not necessarily represent the views or opinions of the Bipartisan Policy
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       Introduction

       The 118.5 million Americans who cast ballots in 2018 represented the largest
       number ever to vote in a midterm election.1 Although the number of people
       voting by mail has been steadily increasing over the past two decades, 2018
       also set a record for the number of votes cast in-person in a midterm election,
       91.2 million. This was a 39% increase in the number of in-person ballots cast
       compared with the last midterm election in 2014.

       The good news is that despite the surge in turnout in 2018, unacceptably long
       lines to vote were infrequent. Among in-person voters, only 6% reported waiting
       more than 30 minutes before they could cast a ballot. 2 The bad news is that the
       percentage of voters reportedly waiting more than 30 minutes to vote doubled
       since 2014, when it was only 3%. By drilling down into the data, it’s clear that in
       some states, the surge in long wait times was especially dramatic. Furthermore,
       disparities persist in states where voters do experience long lines, with long wait
       times more likely to occur in precincts with high minority populations, high
       population density, and low incomes.

       The U.S. voting experience is a constantly changing playing field. Voters cast
       ballots by mail, in person at early voting sites, and through apps available to
       members of the military. But most voters nationwide still go to polling places
       on Election Day. Whether they experience no line, a short line, or an
       indefensible line is the outcome of many policy decisions. These include
       resource availability and deployment, precinct size and location, ballot length,
       poll workers, and timing.

       For those precincts with unacceptably long lines in 2018, local election
       administrators need to diagnose what went wrong to ensure that problems do
       not re-emerge in 2020, when it is likely that turnout will be greater than in 2016,
       the last presidential election. Even so, for the voters in jurisdictions with lines
       less than 30 minutes long, the findings in this report will help policymakers and
       administrators to improve the voting experience in 2020 and beyond.


       SUMMARY OF FINDINGS

       This report documents the results of a nationwide study that the Bipartisan
       Policy Center and the Massachusetts Institute of Technology conducted in 3,119
       individual polling places across the country to measure wait times at the polls
       during the 2018 midterms. It provides the type of fine-grained analysis of voters’
       reality as they waited to cast ballots that survey data cannot replicate.




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   As BPC and MIT found in a previous study of wait times during the 2016 election,
   long wait times in 2018 were primarily an early morning phenomenon. For the
   average voter in this study, there were only 7.8 people in line when they arrived
   at the polls at any point during Election Day. However, if they arrived right when
   polls opened, they faced a line of 21.2 people. At the same time, 35.8% of line
   measurements taken at precincts in the study showed no one waiting in line to
   vote, despite 2018 being the highest-turnout midterm election in a century.

   The Presidential Commission on Election Administration (PCEA)
   recommended 3 that no voter should wait more than 30 minutes to vote. The
   average wait time in this study was 8.9 minutes; 4.8% of precincts saw wait
   times that exceeded 30 minutes, while 1.5% exceeded an hour.

   The 3,119 precincts in the study represented 2.7% of the estimated 116,000
   Election Day polling places nationwide.4 Over 2.4 million voters visited these
   polling places on Election Day, representing 3.3% of all Election Day voters. The
   precincts in the study came from 211 local jurisdictions that were located in
   11 states plus Washington, D.C. Among these 211 jurisdictions, 21 experienced
   average wait times of greater than 30 minutes in at least one polling place.


   30 MINUTES TO VOTE

   Too often the patchwork of election policies across the country creates barriers to
   voter-centric reform. BPC focuses on researching, developing, and making policy
   recommendations on the voting process that improve the voting experience.

   The 30-minute benchmark for acceptable in-person wait times to vote was
   articulated in the final report of the bipartisan PCEA and has become generally
   accepted as the maximum acceptable wait time for voters under normal
   circumstances. 5 If voters arrive at the polls at a fairly stable pace, election
   officials can plan for this traffic, using online tools such as those made available
   by the Caltech/MIT Voting Technology Project (VTP) to assign resources—
   poll books, poll workers, and voting booths/machines—to keep lines to a
   manageable level.6

   BPC and MIT’s research, both in 2016 and in 2018, reveals one important
   exception to the proviso of voters arriving “at a fairly stable pace.” A significant
   number of voters line up at the polls long before they open, creating an instant
   backlog at many polling places the moment the polls open. However, as this
   research also shows, in most cases these lines resolve within the first couple of
   hours of the voting day.




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       Therefore, in almost every case, the dynamics of polling place lines are
       predictable and within acceptable bounds. When unacceptably long lines do
       occur, that is typically because the precinct did not have sufficient staff and
       equipment resources to clear out the opening backlog at a steady pace. Other
       reputed causes of unreasonably long lines—such as a bus arriving with scores
       of voters in the middle of the day or hundreds of voters arriving all at once after
       business hours—certainly occur, but are the exception, not the rule.


       CAUSES OF LONG LINES

       One-off circumstances, such as unanticipated service failures or an unexpected
       influx in arrivals within a short window, can cause long lines. The data indicate,
       however, that policy decisions in certain states cause or exacerbate many of
       the longest lines and have led to long lines for years. Academic studies have
       identified structural causes of long lines such as resource availability and
       deployment, precinct size and location, ballot length, poll workers, and timing.7,8


       CONSEQUENCES OF LONG LINES

       Why be concerned about long wait times to vote? After all, one could argue that long
       lines are a sign of great voter interest and democratic fervor. Certainly, pictures of
       long lines of voters in elections in developing democracies are evidence that citizens
       of those countries are responding enthusiastically to the transition from tyranny.
       Be that as it may, the United States is not a developing democracy. It has conducted
       mass elections for centuries. In the jurisdictions most prone to long lines, large
       urbanized cities and counties, local governments already have access to scientific
       management techniques to guard against inconveniencing voters unnecessarily.

       Scholarly research has demonstrated the real costs of making voters wait in line
       to vote. For instance, responses to the 2016 Voting and Registration Supplement
       of the Current Population Survey suggest that over 560,000 eligible voters
       failed to cast a ballot because of problems related to polling place management,
       including long lines.

       Long lines also exact monetary costs. Research conducted for the PCEA
       estimated that the wage equivalent of the time spent waiting to vote in 2012
       was over half a billion dollars, which was also about one-fifth of the total budget
       of local election offices in 2012.9




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   Long lines also influence future elections. In a dissertation written at Harvard
   University in 2017, Stephen Pettigrew used sophisticated statistical techniques
   to estimate how many people failed to vote in 2014 because of long lines in 2012.
   The answer, nearly 200,000, speaks to the persistent effects of long lines in the
   minds of voters.10

   The likelihood that voters will stand in a long line is not equally distributed
   across the voting population. Relying on answers to the 2018 Cooperative
   Congressional Election Study (CCES), for instance, these are characteristics of
   voters who wait longer than others:

   • African American (11.5 minutes) and Hispanic (11.7 minutes) voters waited
     longer, on average, than white voters (8.8 minutes).
   • Early in-person voters (12.2 minutes) waited longer than Election Day voters
     (7.8 minutes).
   • Residents of the most densely populated neighborhoods waited 25% longer
     than residents of the least densely populated neighborhoods.11
   • Voters in Georgia (18 minutes) waited 23 times longer than voters in Vermont
     (46 seconds).

   These factors regularly appear in academic studies of wait times.12,13 Below is
   a look at how these factors influence line lengths and wait times in the BPC/
   MIT study.

   Still, based on two years of wait-time data from thousands of precincts across
   the country, it is clear that the typical voter experience doesn’t involve waiting
   in a long line. Many of the one-off instances of lines in the study are a knock-on
   consequence—something went wrong in the polling place and was not resolved
   quickly. An example is equipment failure or a power outage. If an electronic poll
   book fails, the line can grow to extraordinary lengths in a matter of minutes if
   a replacement isn’t available or if the failure is not resolvable locally with paper
   backup pollbooks. If replacements are unavailable or must be delivered from
   a warehouse across a large county, the line is likely to grow to the point that
   nothing can be done to ameliorate the problem until the polls close for the day.




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                  Voting Lines in 2018: An
                  Overview

                  Although the amount of time voters wait to cast a ballot is a major factor that
                  determines the voter’s overall opinion about the polling place experience, it is
                  rare for jurisdictions to gather direct information about how long voters wait—
                  this project is a major exception. And even the BPC/MIT Polling Place Line
                  Study does not include participation from all states. Therefore, to gain insight
                  into the typical experience of waiting to vote in 2018, researchers must rely on
                  another source of data.

                  Luckily, for a decade the CCES has been asking voters how long they waited
                  to vote, and the group did so again in 2018. Although answers to this survey
                  question do not drill down to the precinct level like the BPC/MIT study does, it
                  does sketch a broad portrait of waiting to vote in 2018 compared with wait times
                  in past elections.

Figure 1: Average wait time to vote on               First, the BPC/MIT study examines average
Election Day, 2014 and 2018
                                                     wait times. Looking only at respondents who
                                                     voted in person on Election Day, the average
                                                     reported wait time in 2018 was 8.7 minutes.14
                                                     Keeping in mind the PCEA’s 30-minute
                                                     benchmark, 5.7% of Election Day voters
                                                     reported waiting more than half an hour to
                                                     vote.15 These wait times were significantly
                                                     greater than in 2014, the last midterm federal
                                                     election, when 2.4% of Election Day voters
                                                     waited more than half an hour and the
                                                     average wait time was 4.5 minutes.16 Figure 1
                                                     illustrates state averages in 2018 (red circles)
                                                     compared with 2014 (blue squares).

                                                     Two things are notable about Figure 1. First,
                                                     three states (Georgia, South Carolina, and
                                                     Nevada) and the District of Columbia stand
                                                     out compared with the other states in terms
                                                     of how long voters waited to vote on Election
                                                     Day. Georgia had a wait time of 21.7 minutes,
                                                     or 2.5 times the national average.
Note: States omitted because fewer than 20%
cast votes on Election Day: Arizona, Colorado,
                                                     Second, not only do the wait times of these
Oregon, Utah, and Washington                         three states and D.C. stand out compared
Source: CCES 17




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                    with other states in 2018, but the change from 2014 to 2018 also stands out. In
                   2014, 90% of the states—including Georgia, South Carolina, Nevada, and the
                   District of Columbia—had an average wait time that ranged between 2.7 and
                   7.4 minutes. Thus, not only did these four states stand out in comparison with
                   the other states in 2018, they stood out compared with the change in wait times
                   from 2014 to 2018.

                   Why were wait times in 2018 double those of 2014? The most obvious answer is
                   that turnout was greater in 2018—38% greater, when measured as a percentage
                   of the voting-eligible population (VEP).18 In fact, 2018 was the first time since
                   1912 that midterm turnout as a percentage of VEP was above 50%, which is
                   closer to presidential election turnout levels.19

                   Because Little’s Law, which is described below, explains that a main factor
                   determining how long voters wait is the number of people who turn out to vote,
                   it shouldn’t be surprising that wait times were longer in 2018—especially if
                   local officials did nothing else to affect wait times, such as change the number
                   of check-in stations or speed up the check-in process.

                   Although the national turnout rate in 2018 was 38% greater in 2018 than in
                   2014, there was considerable variation across the states around this nationwide
                   average. For instance, Utah saw an increase of 72%, while Alaska was
                   essentially unchanged.

                   The reason why some states saw bigger turnout increases in 2018 than others is
                   an important topic but not especially relevant for gaining an understanding of
                   why wait times were longer in 2018 than in 2014. Whether turnout increased


Figure 2: Change in average wait time to vote on Election Day (2014 to 2018)
plotted against change in voter turnout




Sources: CCES 2014 and 2018; 20 United States Election Project 21



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         because of a more energized electorate, changes to voter registration laws, or
        interest in particular races, the more turnout increases, the more polling places
        feel pressure to accommodate the increase in voters.

        If increased turnout is the reason why wait times in 2018 were greater than
        in 2014, then there should be a high correlation between the turnout change
        between 2014 and 2018 and the wait-time change. Figure 2 illustrates that
        there is a correlation, although it is not “high.” 22 In the figure, the horizontal
        axis shows the change in turnout from 2014 to 2018, while the vertical axis
        shows the increase in wait times. The red line shows the best-fit line through
        the data points. 23

        On average, states that saw larger increases in turnout also experienced larger
        increases in Election Day wait times. Still, not all states with big turnout
        surges saw equally large increases in wait times. New Jersey and Virginia are
        examples of states that saw significant turnout increases but experienced
        relatively moderate increases in wait times.

        The scatterplot in Figure 2 shows that dramatic turnout increases do not
        explain the large increases in wait times in Georgia, South Carolina, Nevada,
        and the District of Columbia. Several states with equally large turnout
        increases saw relatively minor increases in their wait times. It must be the
        case that the states that experienced big wait-time increases in 2018 pushed
        the resources at hand, mainly check-in locations and voting machines, to their
        capacity limits or beyond. These issues will be explored further below.




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                     The BPC/MIT Polling Place
                     Line Study

                     BPC and MIT joined together to create the BPC/MIT Polling Place Line Study.
                     It is a program with a simple goal: to provide local election jurisdictions with
                     actionable data about the lines that formed at their polling places, mostly
                     on Election Day, but in some cases, during early voting. Academic projects
                     conducted in the 2014 and 2016 elections informed the BPC/MIT program, but
                     the study featured one important constraint: The method of collecting data had
                     to be simple and easily implemented by poll workers. To that end, researchers
                     developed a simple coding sheet and a set of instructions that helped poll workers
                     record the number of people standing in line during every hour of the voting day.

                     All told, 211 local jurisdictions provided usable data for the program in 2018,
                     ranging from Metz Township, MI, with 230 registered voters, to San Diego
                     County, CA, with nearly 3 million registered voters.

              The BPC/MIT Polling Place Line Study is extremely simple to implement; the
              designers were mindful of not adding too much extra time and effort to a poll
              worker’s already busy job description. Researchers estimate the amount of time
              that a poll worker spent collecting line information was less than one minute
              at the top of each hour. Every hour, starting when the polling place opened,
                                                  the poll worker simply had to count how
Figure 3: Typical data-collection form            many people were standing in the check-
                                                  in line and record that single number on a
                                                  handwritten sheet along with the number
                                                  of poll books available at the time. Figure 3
                                                  shows a typical data-collection form.

                                                        At the end of Election Day, the participating
                                                        counties and municipalities collected all the
                                                        sheets from their polling places and sent
                                                        them to BPC or MIT. MIT then keyed in the
                                                        data and produced an individualized report
                                                        for each county. After Election Day, MIT
                                                        gathered data about the number of voters
                                                        who turned out in person at each of the
                                                        polling places in the study. (This information
                                                        was easy to gather from the reports issued
                                                        by the local jurisdictions in the course of
                                                        canvassing the election results.)

Source: BPC/MIT 24



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                     Each local jurisdiction received a report that contained at least two parts. The
                     first was a spreadsheet of the data that poll workers had collected on the paper
                     coding forms. The second part of the report calculated the average number of
                     people in line, or line length, during the day; also, by using turnout information,
                     the report calculated the average wait time to vote at each precinct in the
                     jurisdiction. (See below for a discussion on how this calculation was performed.)

                     Figure 4 shows an example of this kind of report. Election Day turnout was
                     based on official reports published by the local jurisdictions that researchers
                     used to calculate the arrivals-per-minute simply by dividing Election Day
                     turnout by the number of minutes the polls were open during the day. Then,
                     we calculated average line length directly from the observational data provided
                     by the participating jurisdictions. The average wait-time calculations for each
                     precinct used Little’s Law, described in greater detail below.


Figure 4: Example precinct wait-time report (excerpt)




Source: BPC/MIT 25




                     Counties that were able to provide hourly data about voter check-ins from their
                     e-poll-book systems received an additional report. This report calculated how
                     many voters had arrived at the polling place each hour. The details of the report
                     each jurisdiction received is illustrated by the graph in Figure 5, which displays
                     the data provided by the county for one particular precinct, includes the line
                     length at the start of each hour (the solid gray line), the number of check-ins
                     each hour (the red line), and when the voters arrived (the blue line).




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Figure 5: Typical graph showing hourly precinct arrivals, check-ins, and number
of voters waiting in line




Source: BPC/MIT 26




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        The Science Behind the
        BPC/MIT Polling Place
        Line Study

        The foundation of the BPC/MIT Polling Place Line Study is queuing theory, a
        field of management science and operations research that characterizes how
        long it takes to provide services to customers—be they grocery store patrons,
        medical office patrons, or cars exiting a parking lot—in terms of three major
        factors: (1) the arrival patterns of customers, (2) how long it takes to serve
        customers, and (3) how many stations, such as check-out stands, customers
        can be served at. Although there are limitations in drawing analogies
        between voters and customers, in the case of managing polling places, the
        analogy is very apt.

        A full description of the science behind the program can be found in Managing
        Polling Place Resources, published by the VTP in 2015. 27

        A core concept in queuing theory is Little’s Law, which states that in a stable
        system, 28 the long-term number of people waiting in line is equal to the long-
        term arrival rate multiplied by the average time a customer spends in the
        system. Using a little algebra, if one knows the arrival rate at a polling place
        and the average number of people in the check-in line to vote, one can then
        calculate the average wait time at a polling place with the following equation:


                                                    Average line length
                              Average wait time =
                                                        Arrival rate


        The jurisdictions involved in the BPC/MIT Polling Place Line Study provided
        the number of people who voted on Election Day at each of the precincts in the
        study. Using the information from the data-collection forms already discussed,
        the average line length was calculated using the Little’s Law formula.

        There are other methods to calculate average wait times. In particular, if one
        knows the number of check-in stations in a polling place, how long it takes
        to check in a voter, and the arrival rate of voters, it is possible to estimate the
        average wait time to check-in. The VTP polling place toolkit website contains
        a spreadsheet that election officials can use to make this calculation and see
        whether they have enough resources in polling places to keep wait times to
        reasonable lengths. 29



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             Using calculations from this spreadsheet, one can demonstrate how wait times
             fluctuate from election to election as the turnout level fluctuates. Consider a
             typical polling place with one check-in station that that is open for a 12-hour
             voting day and that can check in a voter in one minute, on average. Figure 6
             graphs how average wait times change as the hourly arrival rate varied from
             zero to 60 voters per hour.


Figure 6: Example of how wait times to vote vary as the number of voters
arriving per hour varies




             The primary insight in this example is that there is virtually no wait to vote
             across all values of arrival rates, but when the arrival rate reaches a critical
             point, the expected wait time increases exponentially. With 40 voters per hour,
             the average wait time is only two minutes; at 50 voters, it is five minutes; at 55
             voters, the wait time is 11 minutes; and at 59 voters per hour, the wait time is
             almost an hour.

             The sharp inflection of the graph at around 55 voters is sometimes called the
             “elbow of death,” as the arrival rate approaches the polling place’s “utilization
             limit” of 60 voter check-ins per hour. 30

             The example shown in Figure 6 is relevant to understand why some states—
             or precincts—can see big increases in turnout and yet not see wait times
             increase, while others can see similar turnout increases and see wait times
             explode. If a precinct’s arrival rate was previously far from its utilization limit,
             it can more easily absorb an increase in turnout than a precinct that was
             previously close to its limit.

             In this example, a precinct (Precinct A) that had previously had an arrival rate
             of 30 voters per hour, far from the utilization limit, and then experienced an
             increase in the arrival rate to 42 voters per hour would see its average wait time



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        increase from one minute to 2.3 minutes. Another precinct (Precinct B) that
        had previously had an arrival rate of 45 voters per hour, much closer to the
        utilization limit, would see its wait time increase from three to 19 minutes
        if it experienced the identical arrival-rate increase of 12 voters per hour.
        Furthermore, 21% of voters would wait more than 30 minutes in Precinct B;
        5% would wait more than an hour. (Practically no one would wait more than
        30 minutes to vote in Precinct A, even at an arrival rate of 42 voters per hour.)

        The states and local jurisdictions that saw the biggest increases in wait times
        in 2018, such as Georgia, South Carolina, Nevada, and D.C., probably were
        near their own local utilization limits in 2014, and thus near the elbow of
        death. With a dramatic increase in turnout, but without an adequate increase
        in resources, such as voting machines and poll books, wait times exploded.
        The other states that saw similar turnout increases in 2018 but experienced
        minor wait-time increases, such as Virginia and New Jersey, probably had few
        precincts near the elbow in 2014, resulting in greater polling place resilience
        when the surge hit in 2018. 31

        It is significant that most of the states with the biggest increases in wait times
        rely heavily on electronic voting machines, both direct-recording electronic
        machines and ballot-marking devices, and thus cannot easily or inexpensively
        expand polling place capacity whenever turnout surges. Therefore, it seems
        especially important for states with electronic machines to assess their
        resource needs well in advance of elections that might see big turnout surges.




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                 The Results of the
                 BPC/MIT Polling Place
                 Line Study in 2018

                 Clearly, there are a variety of ways to manage long Election Day lines. To take a
                 narrower focus, it’s valuable to examine the results of the BPC/MIT Polling Place
                 Line Study, to look at who participated, and to learn generally from the data gathered.

                 BPC put out a nationwide call, asking for local jurisdictions to participate
                 in the program in 2018. BPC made every effort to encourage jurisdictions of
                 all types from across the country to participate. Still, this was a voluntary
                 program, so the jurisdictions were not chosen randomly.

                 Nonetheless, the demographic characteristics of the precincts included in this
                 study closely correspond to nationwide demographics. This correspondence
                 can be tested using data from the political data firm Catalist, a company that
                 provides voter file information to campaigns.

             As Table 1 shows, the demographic (and other) characteristics of the
             participating jurisdictions are very similar to the characteristics of local
             jurisdictions nationwide. The sample of jurisdictions has slightly greater
             African American populations, more college graduates, and more renters than
             nationwide. This probably reflects the fact that a few very large urbanized
                                                         jurisdictions were part of the
Table 1                                                  program, whereas the smallest and
                                                         most rural jurisdictions primarily
      Demographics vs. Catalist Data                     came from three states—Connecticut,
                                                         Michigan, and Virginia—that had
                   Sample            Nationwide          statewide participation programs.
    White            75.4%              77.4%            Later in this report, it will be shown
                                                         that precincts with large minority
    Black            11.8%              10.2%            populations tend to have longer wait
   Hispanic           6.9%               7.6%            times than precincts that are nearly
                                                         all white. Thus, this report’s estimates
  Other race         6.0%               4.8%             of average wait times may slightly
   Over 65          24.8%              25.3%             overestimate the true national
                                                         average. Because the oversampling
   College
                    38.9%               32.1%            of predominantly African American
  graduates
   Living in
                                                         precincts is slight, it is likely that the
                     10.5%              11.8%            overestimate of national wait times is
   poverty
                                                         also slight.
    Renters             10.6%                7.6%



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        W H O P A R T I C I P AT E D I N T H E P R O G R A M ?

        The BPC/MIT Polling Place Line Study in 2018 included 219 local jurisdictions,
        of which 211 produced Election Day line data that was usable for this report.

        Appendix A lists the 211 jurisdictions that provided usable polling place line
        data in 2018.

        These jurisdictions covered a broad swath of the United States. By the numbers:

        • 11 states, plus the District of Columbia
        • 18.0 million registered voters32
        • 10.5 million votes cast, or 9% of nationwide turnout
        • 3,119 precincts

        All told, the jurisdictions provided more than 41,000 hourly records of line-
        length data. Coupled with the 2016 effort, this represents the largest, most
        broad-based observational study ever conducted of wait times in polling places.


        FINDINGS

        There are six main empirical findings that are important to emphasize.

        1. The average number of people in line at any given time was 7.8.
           However, this average masks an important detail: Most lines were very
           short, but a few were very long.

        The graph in Figure 7 shows the distribution of the number of people standing
        in line each hour for the precincts included in the study. The average line
        length was 7.8 people. However, a small number of precincts that experienced
        incredibly long lines strongly influences this average. Compare the average
        with the median number of people in line, which is just two. In other words,
        half of the hourly line counts were longer than two people and half were
        shorter. Finally, the modal (that is, the most common) number of people in line
        at any hourly observation was zero. Overall, just over one-third (35%) of all the
        recordings in the data had nobody in line at all.




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Figure 7: Distribution of all 41,264 observed hourly line lengths across 3,119 voting
locations in the 2018 election




Source: BPC/MIT 33



                     A major challenge of running an election is not about understanding how long
                     lines will be on average. Instead, election officials must account for how long
                     the line will be at its worst. Another way of exploring the line-length data is to
                     ask how long the longest line was for each precinct in the sample. For 70% of
                     precincts, there were 10 or more people in line at least once during the day. Put
                     another way, 30% of precincts never had more than 10 people in line throughout
                     the entire time they were open. 34 Only 13% experienced a line of 50 or more
                     during the day. Finally, just one in 30 precincts (3.3%) had more than 100 people
                     standing in line to vote at least once during the day.

                     2. The average wait time for precincts in the study was 8.9 minutes. The
                        small number of precincts with very long average wait times also
                        influenced this result. In addition, only a small proportion of precincts
                        had average wait times of greater than 30 minutes.

Figure 8: Average wait times in 3,119 polling places




Source: BPC/MIT 35

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        In all, there was enough data to calculate the average hourly wait time in 97.6%
        of the precincts in the study (3,043 out of 3,119). Figure 8 shows the estimated
        average wait time for voters in these polling places. In most areas, lines were
        typically very short. The mean wait time across these precincts was 8.9 minutes;
        the median was just 4.7 minutes. Just over three-quarters (78.7%) of precincts
        had an average wait time of less than 10 minutes. These findings are largely
        consistent with survey-based estimates of average wait times from the 2018
        election, which found that 76% of voters waited less than 10 minutes to vote.

        However, some areas had much longer wait times. At the high end, one out of
        20 (4.8%) precincts had average wait times that were longer than 30 minutes.

        3. Average wait times are longer in precincts with a high percentage of
           minority voters, more renters, and lower incomes.

        One of the most important policy questions in recent years has been about
        the relationship between polling place wait times and demographic factors,
        particularly race. Until very recently, the statistical correlation between the
        race of a voter and the waiting time to vote has been based on public-opinion
        studies. These studies have regularly found that African American and
        Hispanic voters wait longer to vote than whites.

        The findings in the BPC/MIT report are consistent with public-opinion-
        based studies.

        Public-opinion surveys are valuable for exploring the perceptions voters have
        formed about their voting experience and for characterizing those experiences
        nationwide. One limitation of public-opinion surveys is that they rely on voters’
        memories, which can become clouded over time and influenced by what they hear
        others report. An advantage of direct-observation studies, such as this one, is that
        they directly measure wait times and don’t depend on the recall of voters.

        This study, therefore, provides a good opportunity to verify public-opinion
        studies that have previously correlated demographic factors with wait times.
        BPC and MIT have been able to match most of the precincts from the study
        with demographic data obtained from Catalist. Using this matched data, we
        can see whether demographic characteristics of polling places are correlated
        with wait times without public-opinion surveys.

        First, precincts with a higher proportion of minority voters tend to have longer
        wait times than precincts that are predominantly white. Figure 9 illustrates
        this finding; it graphs the average wait time as a function of the percentage of
        registered voters in a precinct who are non-white.




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Figure 9: Average wait times as a function of percent that is non-white




Source: BPC/MIT 36



                     Consistent with past studies, the more voters in a precinct who are non-white,
                     the longer the wait times. In precincts with 10% or less non-white voters, the
                     average wait time was 5.1 minutes, the median was 3.6. In precincts with
                     90% or more non-white voters, the average and median climb to 32.4 and 13.3
                     minutes, respectively.

                     Two patterns are particularly important to notice in Figure 9. First, the mean and
                     median are fairly close to each other in precincts with low non-white populations,
                     and then they diverge significantly in precincts with high non-white populations.

                     Because outliers strongly influence averages, this divergence between the mean
                     and median wait times indicates that in predominantly minority precincts, there
                     are a few precincts with exceptionally long wait times that are pulling up the
                     average. This is not to dismiss problems experienced in precincts with greater
                     than 80% minority populations. But it is to suggest that the few precincts that
                     have extraordinarily long lines are disproportionately in minority communities.

                     The second pattern is related to the first. The average and median wait times
                     march upward in a fairly linear fashion in the range of 0% to 70% minority
                     population, then the average begins to grow exponentially. This underscores
                     that the mismatch between resources and voting demand is especially great in
                     precincts with a large fraction of minority voters.

                     Another demographic of interest is the percentage of the population who
                     are renters. A large rental population implies an area with a great deal of
                     population turnover. With high population turnover, two factors might




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                     increase wait times: (1) new voters, whose inexperience with the process
                     may slow down check-in and voting times; and (2) highly mobile voters who
                     may find themselves in the wrong precinct on Election Day and thus casting
                     provisional ballots, another process that can slow down lines.

                     Precincts in areas with more renters, in fact, experience longer wait times, as
                     illustrated by Figure 10. The relationship is not as dramatic as that seen with
                     race, but the pattern occurs, nonetheless. In precincts where fewer than 10% of
                     residents are renters, the mean wait time was 7.9 minutes and the median was
                     4.4 minutes. In the few precincts where the rental rate exceeded 60%, the average
                     grew to 16.6 minutes, with the median at 8.1 minutes. Finally, as discussed above,

Figure 10: Average wait times as a function of percent who are renters




Source: BPC/MIT 37



                     the fact that the mean and median are fairly close in low-rental areas suggests
                     that there are many fewer precincts with exceptionally high wait times. This is in
                     contrast to the high-rental areas, where the mean and median are quite far apart.

                     A final demographic factor of wait times is income. Income is correlated with
                     a number of factors that might cause long lines. One is political clout; election
                     officials representing jurisdictions with higher average incomes may be more
                     successful in agitating for extra resources if wait times creep up. 38

                     As Figure 11 shows, the correlation between a precinct’s income and wait times
                     is largely determined by especially long wait times in the lowest-income areas.
                     Considered together, the average wait time in precincts with an average income
                     of less than $40,000 is 15.4 minutes, compared with 7.7 minutes in other
                     precincts. Beyond average incomes of $40,000, average wait times are relatively
                     flat, fluctuating randomly.



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                     Interestingly enough, the median wait time, 4.7 minutes, is essentially constant
                     for all levels of average income. This means that low-income precincts are much
                     more likely to experience exceptionally long lines than middle- and upper-
                     income precincts. For instance, 3.4% of the precincts with average incomes of
                     less than $40,000 had average wait times of greater than 30 minutes. This
                     contrasts with 0.7% of precincts with higher average incomes. In other words,
                     precincts in areas with average incomes of less than $40,000 were four times
                     more likely to experience wait times of greater than 30 minutes than precincts
                     in areas with incomes above that.

                     Of course, the three demographic factors discussed here are all correlate with
                     each other. Precincts with high minority populations tend to have lower average

Figure 11: Average wait times as a function of average income




Source: BPC/MIT 39



                     incomes and more renters. Which factor has the most statistical power in
                     explaining average wait times?

                     The answer is race. A simple statistical model provides the answer; Appendix
                     B reports its results. In summary, it is the case that race and the percentage of
                     renters individually show statistically significant influences on average wait
                     times. However, once researchers explore all three demographics simultaneously,
                     the only factor that retains explanatory power is race.40 The analysis suggests that
                     the difference in wait times between a precinct that is 100% non-white and one
                     that is 100% white is 20 minutes.

                     This effect is quite large, but consistent with other studies. Unfortunately, we
                     did not design this study to explore the causes of wait times beyond easily
                     measured factors such as demographics and arrival rates. The small amount


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        of research that has probed this question suggests that longer lines in
        minority-dominated precincts are primarily due to local differences in
        political influence, which result in minority precincts being less well-
        supported on Election Day.41,42,43,44

        4. The longest lines tended to occur in the morning, right after the
           polls opened.

        When Americans vote on Election Day, they tend to vote in the morning.
        According to the 2014 Survey of the Performance of American Elections,
        the last time the survey was conducted during a midterm election, 22% of
        Election Day voters had cast a vote by 9 a.m. and 48% had voted by noon.
        The statistics for 2016 were very similar—24% and 56%, respectively.

        Across all the precincts reflected in this study, the longest lines tended
        to be present the moment the polls opened, which was due to the large
        number of voters who lined up early. Lines during the first couple of hours
        of voting remained long even in the best of circumstances because the
        large number of voters who arrived before work hours encountered the
        backlog of voters caused by the opening queue.

        Figure 5 above provides an example of this pattern; it showed the arrival,
        check-in, and line-length dynamics of a representative precinct. In that
        example, 35 people were waiting in line to vote when the precinct opened
        at 8 a.m. Between 8 and 9 a.m., another 52 people arrived. Because the
        poll workers were able to check in 57 people during that first hour, the
        line shrank from 35 at 8 a.m. to 30 at 9 a.m. In the first couple of hours
        of voting, poll workers were unable to clear the backlog of voters created
        by the line of voters already in place when the polls opened. It was only
        late in the day, when hourly arrivals eased up a bit, that the line began to
        steadily drop. (It also helped that for the 11 a.m.-to-noon hour, the number
        of voters that poll workers were able to check in surged by about 50% for
        that one hour, allowing more of the line to clear.)

        To highlight the more general point, the graph in Figure 12 presents the
        hour in which each precinct in the study reported its longest line on
        Election Day. To account for different precinct opening times in different
        jurisdictions, the x-axis of the graph displays the number of hours since
        the precinct opened. (For instance, if the polls opened at 7 a.m. and
        the longest line appeared at that time, the results for the opening hour
        are reported for Hour 0. If the longest line occurred at 8 a.m., the line
        is reported as occurring at Hour 1.) The y-axis shows the proportion of
        precincts that experienced their longest lines at this time.




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Figure 12: When did precincts experience the longest line of the day?




Source: BPC/MIT45




                    The overwhelming majority of Election Day precincts, 63%, had their longest
                    lines when the doors opened. An additional 6% had their longest lines during
                    the first hour of voting. In other words, 69% of Election Day precincts had their
                    longest lines within the first hour of voting, with the lines declining after that.

                    In 2018, there was a notable surge in longest lines around the period between
                    nine and 12 hours after poll openings. (This surge did not occur in 2016.) This
                    time generally corresponds with the late-afternoon/end-of-work-day period.
                    (For example, if polls open at 6 a.m., then the period between nine and 12 hours
                    later would be from 3 p.m. to 6 p.m.) Overall, 17.5% of precincts experienced
                    their longest lines at this time. This is in contrast with 2016, when the
                    corresponding figure was approximately 1%.

                    This difference could be a result of the sample of precincts being slightly different
                    in 2018 than in 2016. While this is a real possibility, it is more likely that midterm
                    voters (such as in 2018) tend to be different from on-year voters (such as 2016).

                    5. Although lines tend to be the longest at the beginning of the day, they
                       dissipate quickly in most precincts.

                    Although lines tend to be the longest at the beginning of the day, most precincts
                    managed to reduce the length of their lines quickly. Figure 13 shows the
                    percentage of the Election Day precincts in which the line at Hour 0, Hour 1, or
                    Hour 2 was of a certain length. The percentage of precincts with any given line
                    length decreased with each passing hour. For example, 7.5% of precincts had more
                    than 50 people in line when they opened, but within one hour, that number had
                    dropped to 4.3%, falling to 3.2% within two hours. Similarly, while



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Figure 13: Percentage of precincts with at least a certain number of people in line
early in the day




Source: BPC/MIT46




                    only about 34.6% of precincts had fewer than 10 people in line at the beginning,
                    82.8% had lines of fewer than 10 people within two hours.

                    Comparing these results with the BPC/MIT report from 2016, there are two
                    important patterns. First, the length of lines when the polls opened was
                    not appreciably shorter in 2018 than in 2016. Second, these opening lines
                    dissipated much more quickly in 2018, which was a major reason overall wait
                    times in 2018 remained less than in 2016.

                    Given the results reported thus far, it should not be surprising that average lines
                    on Election Day tended to drop as the day progressed. Figure 14, which displays a
                    graph of average line lengths for each hour of the day, illustrates this. In addition,
                    Figure 14 shows the hourly median and the 10th and 90th percentiles. As before,
                    the chart accounts for the fact that polls open at different times by calling the
                    opening hour “Hour 0,” the end of the first hour “Hour 1,” etc. (For instance, in a
                    state where the polls open at 7 a.m., Hour 0 is 7 a.m., Hour 1 is 8 a.m., etc.)




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Figure 14: Average number of people in line each hour after polls open




Source: BPC/MIT47




                    Consistent with the data reported above, the average precinct saw 20 people in
                    line when the doors opened on Election Day 2018. By the end of the first hour,
                    that number had been more than cut in half, to 8.6. Even though there was a
                    small surge toward the end of the day, the average in any hour was never as
                    great as it was in the first hour of voting.

                    The data plotted in Figure 14 that show the variability of line lengths each
                    hour help to round out the picture. Note that the median and mean at opening
                    time are relatively close (median = 14 and mean = 20), which indicates that
                    line lengths across precincts in the study occurred fairly symmetrically. Even
                    by the end of the first hour, the median (2) is quite far from the mean (8.6).
                    Also note that the 90th percentile value at the end of the first hour (25) is far
                    above the mean. This pattern holds from Hours 1 to 13. Statistically, this shows
                    that a small number of outlier precincts with exceptionally long lines heavily
                    influence the average line length after the first hour. The typical precinct has
                    only a handful of people waiting to check in—the median is no more than
                    three people in line after the opening. Finally, it is notable that the variance of
                    line lengths increases dramatically between Hours 9 and 11. Again, because the
                    mean and median are not affected much, this shows that extraordinarily long
                    lines to vote in the hours after work are rare, even if they are troubling.

                    6. If a precinct clears its morning line quickly, it is unlikely to experience
                       long wait times for the rest of the day. If the morning line persists, long
                       wait times are likely to occur for the entire day.




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        There is a crush of morning voting on Election Day. The BPC/MIT Polling Place
        Line Study shows the importance of clearing that morning line. A high volume
        of voters at the start of the day—both those waiting when the polls open
        and those coming soon after they open—will lead to lines at most precincts.
        However, most of those precincts showed the ability to clear those lines within
        the first couple of hours of voting, never to experience them again for the rest of
        the day. Conversely, the precincts that could not clear their morning lines after
        a couple of hours were highly likely to see long lines and long wait times until
        they closed their doors, often hours after the official polling place closing time.

        Do long lines early in the day make a precinct more likely to be burdened by
        long lines after 5 p.m.? Does having a long line right now mean that a precinct
        is likely to have one in two or six hours?

        Overall, the data suggest that the answers to these questions are no to the first
        and yes to the second. While precincts that have long lines right when the polls
        open are slightly more likely to have long lines later in the day, most precincts
        with long lines at the opening see those lines recede fairly quickly. However, as
        the day progresses, if a precinct has a long line later in the morning or in the
        afternoon, it is unlikely the lines will shorten appreciably until closing time.

        The graphs in Figure 15 illustrate these points. This figure has 12 graphs. Each
        graph shows the average number of people in line later in the day, broken down
        by whether there were 20 or more people in line at that hour or less than 20
        people in line. For instance, the very first graph charts the average number of
        people in line each hour for the rest of the day, for precincts that had 20 or more
        people in line when the polls opened (“Yes”) and for precincts that had fewer
        than 20 in line (“No”). In these precincts, if there were at least 20 people in line
        when the polls were open, there are an average of 16.4 in line at the end of Hour
        1, 11.6 in line at the end of Hour 2, etc. In contrast, if there were fewer than 20
        people in line when the polls opened, there was an average of 3.1 and 2.8 in line
        at the end of Hours 1 and 2, respectively.

        Scanning across all the graphs, notice that the circles in red climb from one
        graph to the next. This shows that as the day progresses, having 20 or more
        people in line at any moment portends longer and longer lines down the road.
        For instance, in precincts that have more than 20 people in line when the
        polls open, the average line length at the end of Hour 4 is 10.8 people. However,
        in precincts that have more than 20 people in line at the end of Hour 1, the
        average number of people in line at the end of Hour 4 rises to 20.8. If there are
        still more than 20 people in line at the end of Hour 2, the average number in
        line at the end of Hour 4 rises again to 28.4.

        This shows how precincts very quickly diverge in the morning according to
        two paths: those that can get the lines under control within an hour or two and
        those that cannot.



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Figure 15: How the number in line now predicts the number in line the rest of the day




Source: BPC/MIT48



                                                                                        29
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        Conclusion

        After two national iterations of the BPC/MIT Polling Place Line Study, it’s
        clear that long lines most fundamentally form when there is a misallocation
        of resources necessary to handle the service requirement of a polling place. In
        other words, there aren’t enough poll books, voting booths, ballots, or machines
        to handle the crowd.

        What’s more:

        1. Lines at polling places can be studied—and brought under control—by
           using approaches and tools that businesses have been employing for
           decades.

        2. To effectively manage polling places and reduce lines, election officials must
           collect information about the number of people in line on a regular basis at
           every polling place in their jurisdiction.

        3. Best-practice management techniques and policies that encourage a smooth
           flow of voters in polling places can reduce long lines.

        4. Long lines are not the norm for most voters, but at a substantial fraction of
           polling places, voters wait longer than the 30-minute maximum, and at a
           smaller but still troubling group of polling places, lines can stretch for over
           one hour.

        5. Whether it’s issues that are unique to a polling place or more general
           problems relating to chronic capacity shortages, both can cause long lines.

        6. Lines are longest on the morning of Election Day.

        7. Longer lines are correlated with precincts unable to handle early morning lines
           and precincts that are more urban, denser, and have higher minority populations.




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   Want to Know More?

   The principles behind the BPC/MIT Polling Place Line Study have been a
   core part of management science for decades. The following is a brief list of
   resources that may be especially helpful to election administrators.

   • Alexander S. Belenky and Richard C. Larson, “To Queue or Not to Queue?”
     OR/MS Today, 2006. Available at: http://www.orms-today.org/orms-6-06/
     queues.html. (Brief, accessible introduction to queuing theory as applied to
     elections.)
   • Caltech/MIT Voting Technology Project, “VTP Toolkit.” Available at: http://
     web.mit.edu/vtp/. (Collection of online tools that help with allocating
     resources and minimizing polling place lines.)
   • Charles Stewart III, “Managing Polling Place Resources,” Caltech/MIT
     Voting Technology Project Report, 2015. Available at: http://web.mit.edu/vtp/
     Managing%20Polling%20Place%20Resources.pdf. (Comprehensive report
     on polling place lines and how to manage and study them.)
   • Richard C. Larson and Amedeo R. Odoni, Urban Operations Research (Upper
     Saddle River, NJ: Prentice-Hall, 1981). Available at: http://web.mit.edu/urban
     _ or _ book/www/book/. (Chapter 4 provides a straightforward introduction
     to queuing theory.)

   A small-but-growing academic literature has emerged based on public-opinion
   research and direct observation that address the issues in this report. Below is a
   brief list of peer-revised articles that dive more deeply into the issues addressed
   in this report:

   • Michael C. Herron and Daniel A. Smith, “Precinct Resources and Voter
     Wait Times,” Electoral Studies, 42: 249-263, 2016. Available at: https://doi.
     org/10.1016/j.electstud.2016.02.014. (Observational study of Hanover, N.H.,
     in 2014 combined with computer simulations to understand the relationship
     between polling place resources and wait times.)
   • Stephen Pettigrew, “The Racial Gap in Wait Times: Why Minority Precincts
     Are Underserved by Local Election Officials,” Political Science Quarterly,
     132(2): 527-547, 2017. Available at: https://www.stephenpettigrew.com/
     articles/pettigrew-2017-psq.pdf (Most comprehensive analysis of the
     influence of race on wait times, based on a large academic survey research
     study in 2006, 2008, 2012, and 2014.)




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        • Robert M. Stein, Christopher Mann, Charles Stewart III, et al.,
          “Waiting to Vote in the 2016 Presidential Election: Evidence
          from a Multi-County Study,” Political Research Quarterly, March
          28, 2019. Available at: https://journals.sagepub.com/doi/
          abs/10.1177/1065912919832374#articleCitationDownloadContainer. (Largest-
          ever academic study of polling place dynamics, based on direct observation
          of precincts in over 25 local jurisdictions.)
        • Douglas M. Spencer and Zachary S. Markovits, “Long Lines at Polling Stations?
          Observations from an Election Day Field Study,” Election Law Journal, 9(1): 3-17,
          2010. Available at: https://doi.org/10.1089/elj.2009.0046. (Perhaps the first
          academic study of polling place wait times based on direct observation of lines
          in the 2008 presidential primary in northern California.)
        • Charles Stewart III and Stephen Ansolabehere, “Waiting to Vote,” Election
          Law Journal, 14(1): 47-53, 2015. Available at: https://doi.org/10.1089/
          elj.2014.0292.(Overview of research presented to the PCEA about lines at
          polling places.)




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   Appendix A. Participating
   Jurisdictions

                                               Hourly
   Jurisdiction                  Precincts
                                               Observations

   Pinal County, AZ              58            776
   Orange County, CA             45            614
   San Diego County, CA          806           10,271
   Boulder County, CO            15            195
   Andover, CT                   1             15
   Ansonia, CT                   6             88
   Barkhamsted, CT               1             15
   Bethlehem, CT                 1             15
   Bozrah, CT                    1             14
   Branford, CT                  7             98
   Brookfield, CT                2             29
   Canaan, CT                    1             15
   Canton, CT                    1             14
   Colebrook, CT                 1             15
   Columbia, CT                  1             15
   Cornwall, CT                  1             15
   Coventry, CT                  1             15
   Eastford, CT                  1             15
   Ellington, CT                 2             30
   Essex, CT                     1             15
   Franklin, CT                  1             15
   Granby, CT                    2             30
   Hartland, CT                  1             15
   Killingworth, CT              1             15
   Litchfield, CT                4             54
   Lyme, CT                      1             15
   Monroe, CT                    2             28
   North Stonington, CT          1             14
   Prospect, CT                  2             30
   Salem, CT                     1             15
   Southington, CT               3             44
   Sterling, CT                  1             14
   Suffield, CT                  1             15
   Willington, CT                1             14
   Windsor Locks, CT             2             30
   Windsor, CT                   4             57
   Wolcott, CT                   3             44
   Woodstock, CT                 1             15



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                                                      Hourly
        Jurisdiction                      Precincts
                                                      Observations

        Washington, DC                    66          857
        Escambia County, FL               59          746
        Hernando County, FL               25          320
        Marion County, FL                 120         1,560
        Pasco County, FL                  89          1,154
        Taylor County, FL                 1           13
        Fulton County, GA                 63          789
        Baltimore City, MD                126         1,702
        Caroline County, MD               7           97
        Carroll County, MD                36          495
        Algoma Township, MI               3           42
        Augusta Township, MI              1           14
        Banks Township, MI                1           14
        Baroda Township, MI               1           14
        Battle Creek City, MI             6           83
        Bear Lake Township, MI            1           14
        Beaver Township, MI               1           14
        Bedford Township, MI              4           56
        Belding City, MI                  3           40
        Bellevue Township, MI             1           12
        Bertrand Township, MI             1           14
        Big Creek City, MI                1           12
        Blair Township, MI                1           14
        Bloomfield Township - Missaukee
                                          1           14
        County, MI
        Bloomfield Township - Oakland
                                          30          413
        County, MI
        Blumfield Township, MI            1           14
        Bridgewater Township, MI          1           14
        Bridgman City, MI                 1           14
        Brighton Township, MI             4           54
        Brookfield Township, MI           1           14
        Buchanan Township, MI             1           14
        Carson City, MI                   1           14
        Casnovia Township, MI             1           14
        Charleston Township, MI           1           14
        Charlotte City, MI                4           56
        Chesaning Township, MI            2           28
        City Of Alpena, MI                4           54
        Clam Lake Township, MI            1           14
        Clearwater Township, MI           1           14
        Cleon Township, MI                1           14
        Cohoctah Township, MI             1           14
        Coloma City, MI                   1           14




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                                                 Hourly
   Jurisdiction                      Precincts
                                                 Observations

   Columbus Township, MI             2           27
   Commerce Township, MI             10          135
   Concord Township, MI              1           14
   Cooper Township, MI               5           69
   Courtland Township, MI            2           28
   Deerfield Township, MI            2           28
   Delta Township, MI                14          194
   Detroit City, MI                  50          665
   DeWitt Township, MI               3           41
   Dexter Township, MI               3           42
   Durand City, MI                   2           26
   Eastpointe Township, MI           11          150
   Echo Township, MI                 1           14
   Elba Township, MI                 3           42
   Ellis Township, MI                1           14
   Eureka Township, MI               2           28
   Fairfield Township, MI            1           14
   Farmington City, MI               3           41
   Filer Township, MI                1           14
   Forest Township, MI               1           14
   Franklin Township, MI             1           14
   Free Soil Township, MI            1           13
   Freedom Township, MI              1           14
   Fruitland Township, MI            2           28
   Fruitport Township, MI            4           54
   Gobles City, MI                   1           14
   Grand Blanc Township, MI          11          150
   Grattan Township, MI              2           28
   Grosse Pointe Woods City, MI      2           27
   Hagar Township, MI                1           14
   Harrison City, MI                 1           14
   Hartford City, MI                 1           14
   Hartland Township, MI             5           70
   Hatton Township, MI               1           14
   Hayes Township, MI                3           42
   Hazel Park City, MI               1           14
   Highland Township, MI             3           39
   Howell City, MI                   31          423
   Jefferson Township, MI            1           13
   Juniata and Wells Townships, MI   1           13
   Kalamazoo Township, MI            10          133
   Kingsford City, MI                1           13
   Lake Charter Township, MI         1           14
   Lakefield Township, MI            1           14




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                                                    Hourly
        Jurisdiction                  Precincts
                                                    Observations

        Lansing City, MI              35            437
        Lansing Township, MI          5             65
        LaSalle Township, MI          2             28
        Leland Township, MI           1             14
        Leslie Township, MI           1             14
        Lima Township, MI             1             14
        Litchfield City, MI           1             14
        Locket Township, MI           1             14
        Long Lake Township, MI        2             27
        Lyndon Township, MI           1             14
        Madison Township, MI          3             42
        Manistee City, MI             2             28
        Manistee County, MI           10            138
        Marion Township, MI           4             56
        Marquette City, MI            6             84
        Mason City, MI                3             42
        Metz Township, MI             1             14
        New Buffalo City, MI          1             14
        Novi City, MI                 20            277
        Oceola Township, MI           5             68
        Olive Township, MI            1             13
        Orchard Lake City, MI         1             14
        Otsego City, MI               1             14
        Ottawa County, MI             45            654
        Parma Township, MI            1             14
        Paw Township, MI              1             14
        Pentland Township, MI         1             13
        Petersburg City, MI           1             14
        Pittsfield Township, MI       8             104
        Pleasant Ridge City, MI       1             14
        Port Huron City, MI           9             123
        Portage City, MI              12            168
        Portage Township, MI          3             42
        Raisinville Township, MI      2             28
        Richland Township, MI         3             41
        Riverview City, MI            3             42
        Saginaw Township, MI          13            170
        Sand Beach Township, MI       1             14
        Scio Township, MI             8             109
        Scipio Township, MI           1             14
        Sodus Township, MI            1             14
        Somerset Township, MI         2             28
        St. Charles Township, MI      2             25
        St. Clair Shores City, MI     12            163




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                                               Hourly
   Jurisdiction                   Precincts
                                               Observations

   St. Johns City, MI             3            42
   St. Joseph City, MI            3            42
   Sterling Heights City, MI      45           613
   Sylvan Lake City, MI           1            12
   Sylvan Township, MI            1            14
   Tawas City, MI                 1            14
   Taylor City, MI                12           161
   Traverse City, MI              7            97
   Troy City, MI                  25           344
   Tuscola Township, MI           1            14
   Utica City, MI                 1            14
   Vevay Township, MI             2            28
   Vienna Township, MI            5            70
   Walker City, MI                9            126
   Waterford Township, MI         6            82
   Watertown Township, MI         2            28
   West Branch City - Missaukee
                                  1            14
   County, MI
   West Branch City - Ogemaw
                                  1            14
   County, MI
   Westland City, MI              16           216
   Whitehall Township, MI         1            14
   Wilson Township, MI            1            14
   Windsor Township, MI           3            41
   Ypsilanti Township, MI         8            107
   Minneapolis City, MN           119          1,599
   Douglas County, NE             211          2,793
   Hamilton County, OH            200          2,707
   Arlington County, VA           30           398
   Bedford County, VA             30           409
   Buchanan County, VA            11           154
   Chesapeake City, VA            50           672
   Chesterfield County, VA        65           873
   Culpeper County, VA            15           210
   Fairfax City, VA               4            54
   Gloucester County, VA          11           157
   Goochland County, VA           10           136
   Greene County, VA              4            54
   Hanover County, VA             28           383
   Louisa County, VA              15           210
   Orange County, VA              10           135
   Petersburg City, VA            7            95
   Prince William County, VA      65           876
   Rockingham County, VA          29           402
   York County, VA                8            106
                                  3,180        42,203


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        Appendix B. Regression
        Analysis of Demographic
        Factors Affecting Average
        Wait Times

             Variable

                          20.42***                               22.36***   20.13**
        Non-white pct.    2.39
                                     —         —        —
                                                                 (4.30)     (5.58)

        Log                          1.24*                       0.20       0.05
                          —                    —        —
        (renter pct.)                (0.51)                      (0.47)     (0.40)

        Log                                    -1.77             0.17       -1.27
                          —          —                  —
        (avg. income)                          (2.64)            (1.89)     (1.49)

        In-person                                                0.0002     (0.0005)
                          —          —         —        —
        voters (1,000s)                                          (0.0006)   (0.0013)

                          3.88***    12.0***   27.41    -0.56    2.05       17.8
        Intercept         (0.44)     (2.2)     (29.1)   (1.43)   (20.0)     (16.4)


        N                 2,830      2,776     2,830    2,830    2,776      2,776


        R2                .10        .04       .002     .0009    .12        .14


        Fixed effects?    No         No        No       No       No         State


        * p < .05
        ** p < .01
        *** p < .001

        Note: Robust standard errors reported in parentheses. Standard er-
        rors also clustered at the state level.




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   Endnotes

   1   Total turnout statistics for 2018 are available at the United States Elections Project,
       “2018 November General

   2   Nationwide wait times in this paragraph are based on responses to the 2016 and 2018
       Cooperative Congressional Election Study. Available at: https://cces.gov.harvard.edu.

   3   Presidential Commission on Election Administration, The American Voting Experience:
       Report and Recommendations of the Presidential Commission on Election Administration,
       January 2014. Available at: https://www.eac.gov/assets/1/6/Amer-Voting-Exper-final-
       draft-01-09-14-508.pdf.

   4   The number of Election Day polling places comes from: U.S. Election Assistance
       Commission, Election Administration and Voting Survey, 2018. Available at: https://
       www.eac.gov/research-and-data/election-administration-voting-survey/.

   5   Presidential Commission on Election Administration, The American Voting Experience:
       Report and Recommendations of the Presidential Commission on Election Administration,
       January 2014. Available at: https://www.eac.gov/assets/1/6/Amer-Voting-Exper-final-
       draft-01-09-14-508.pdf.

   6 MIT-Caltech Voting Technology Project, VTP Toolkit.
     Available at: http://web.mit.edu/vtp/.

   7   Stephen Pettigrew, “The Racial Gap in Wait Times: Why Minority Precincts Are
       Underserved by Local Election Officials,” Political Science Quarterly, 132(2): 527-547, 2017.

   8   Robert M. Stein, Christopher Mann, Charles Stewart III, et al., “Waiting to Vote in the
       2016 Presidential Election: Evidence from a Multi-County Study.” Political Research
       Quarterly, March 2019.
       Available at: https://journals.sagepub.com/doi/abs/10.1177/1065912919832374.

   9   Charles Stewart III and Stephen Ansolabehere, “Waiting to Vote,” Election Law Journal,
       14(1): 47-53, 2015.

   10 Pettigrew, Stephen, “Long Lines and Voter Purges: The Logistics of Running Elections in
      America,” Harvard University, PhD dissertation. 2017.

   11 The BPC/MIT Polling Place Line Study defines “least densely populated” as living in a
      ZIP code that is in the bottom quartile, in terms of population/square mile. It defines
      “most densely populated” as living in a ZIP code that is in the top quartile. The cut-off
      points of these two regions are 259/square mile and 3,894/square mile. The average wait
      time in the least densely populated region is 6.7 minutes; for the most densely populated
      region, it is 8.4 minutes.

   12 Stephen Pettigrew, “The Racial Gap in Wait Times: Why Minority Precincts Are
      Underserved by Local Election Officials,” Political Science Quarterly, 132(2): 527-547, 2017.

   13 Charles Stewart III and Stephen Ansolabehere, “Waiting to Vote,” Election Law Journal,
      14(1): 47-53, 1985.

   14 The 95 percent confidence interval of this estimate is 0.2 minutes.



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        15 The 95 percent confidence interval of this estimate is 0.3 percentage points.

        16 The 95 percent confidence intervals of these estimates are 0.2 percentage points and 0.1
           minutes, respectively.

        17 Cooperative Congressional Election Study. Available at: https://cces.gov.harvard.edu.

        18 United States Elections Project, “2018 November General Election Turnout Rates,”
           December 14, 2018. Available at: http://www.electproject.org/2018g.

        19 United States Election Project, “National General Election VEP Turnout Rates,
           1789-Present.” Available at: http://www.electproject.org/national-1789-present.

        20 The correlation between the two variables shown in Figure 2 is r = 0.43.

        21 The line of best fit uses the linear regression statistical technique.

        22 Cooperative Congressional Election Study, 2014 and 2018.
           Available at: https://cces.gov.harvard.edu.

        23 United States Election Project, “National General Election VEP Turnout Rates,
           1789-Present.” Available at: http://www.electproject.org/national-1789-present.

        24 BPC/MIT Polling Place Line Study.

        25 Ibid.

        26 Ibid.

        27 Charles Stewart III, Managing Polling Place Resources, Caltech/MIT Voting Technology
           Project, 2015.
           Available at: http://web.mit.edu/vtp/Managing%20Polling%20Place%20Resources.pdf.

        28 A “stable system” is one in which average values of the critical elements of the queue—
           the arrival rate and the amount of time a customer spends in the system—do not trend
           upward or downward but remain steady across time.

        29 MIT-Caltech Voting Technology Project, VTP Toolkit.
           Available at: http://web.mit.edu/vtp/.

        30 In the case of voting, polls reach a utilization limit when the number of people who
           arrive in a period of time (like an hour) exceeds the number of people who can be served
           during that period. In the example here, the utilization limit is 60 people per hour,
           because the polling place can only check in 60 people per hour. If more than 60 people
           arrive per hour, the line must keep growing until arrivals stop. Even when slightly fewer
           than 60 people arrive per hour, the wait time will be long, because of the variability
           in when people arrive. However, the line will eventually stabilize, unlike the situation
           where the arrival rate exceeds the utilization limit.

        31 At the risk of immodesty, the BPC/MIT Polling Place Line Study has had a special
           relationship with Virginia since 2015, in terms of helping to apply the principles of queuing
           theory to managing polling place resources. Part of that relationship involved providing
           many Virginia counties with feedback concerning the match between turnout and
           polling place resources in anticipation of the 2016 election. It is likely that this additional
           attention to planning played a role in helping Virginia cope with the 2018 turnout surge.




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   32 Voter registration and turnout statistics come from: U.S. Election Assistance
      Commission, Election Administration and Voting Survey, 2018. Available at: https://
      www.eac.gov/research-and-data/election-administration-voting-survey/.

   33 BPC/MIT Polling Place Line Study.

   34 Because poll workers generally recorded line lengths at the top of each hour, it is likely
      that some precincts in this study that recorded never having a line of more than 10
      people in fact had a longer line at some other time in the hour. However, because line
      lengths are “sticky” over short periods of time, it is likely that the number of precincts in
      the study that had unrecorded lines of greater than 10 people is relatively small.

   35 BPC/MIT Polling Place Line Study.

   36 Ibid.

   37 Ibid.

   38 In the one peer-reviewed journal article that deeply explored the racial divide in wait
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      poll workers and voting machines to white precincts than minority ones.” Stephen
      Pettigrew, “The Racial Gap in Wait Times: Why Minority Precincts Are Underserved by
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      BPC and MIT did not gather data about precinct-level resource allocation among the
      precincts in this study and therefore cannot directly address the resource-allocation
      hypothesis in these jurisdictions.

   39 BPC/MIT Polling Place Line Study.

   40 A multiple regression framework simultaneously explores demographic factors.

   41 Stephen Pettigrew, “The Racial Gap in Wait Times: Why Minority Precincts Are
      Underserved by Local Election Officials,” Political Science Quarterly, 132(2): 527-547, 2017.

   42 Charles Stewart III and Stephen Ansolabehere, “Waiting to Vote,” Election Law Journal,
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   43 Robert M. Stein, Christopher Mann, Charles Stewart III, et al., “Waiting to Vote in the
      2016 Presidential Election: Evidence from a Multi-County Study.” Political Research
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      Available at: https://journals.sagepub.com/doi/abs/10.1177/1065912919832374.

   44 Charles Stewart III, “Waiting to Vote in 2012,” Journal of Law and Politics, 28: 439-464,
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   45 BPC/MIT Polling Place Line Study.

   46 Ibid.

   47 Ibid.

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                                                                             Policy Areas

                                                                             Economy

1225 Eye St NW, Suite 1000                                                   Energy
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                                                                             Governance

                                                                             Health

                                                                             Housing

                                                                             Immigration

                                                                             Infrastructure

                                                                             National Security




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               I D E A S . A C T I O N . R E S U LT S .
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                                                                           April 2019
                                        CURRICULUM VITAE

Name:             Stephen C. Graves                 Department: Sloan School of Management
Date of Birth:    November 1951                     Place of Birth: Pittsfield, MA
Citizenship:      U.S.                              Marital Status: Married

Education:
             School                            Degree           Date

      Dartmouth College                        A.B.             1973
      Dartmouth College                        M.B.A.           1974
      University of Rochester                  M.S.             1976
      University of Rochester                  Ph.D.            1977

      Title of Doctoral Thesis:     The Multiproduct Production Cycling Problem for
                                    Stochastic Demand and Finite Production Capacity

Principal Fields of Interest: Operations Management, Applied Operations Research

Name and Rank of Other SSM Faculty in Same Field:
    Gabriel R. Bitran          Professor
    Joann de Zegher            Assistant Professor
    Steven D. Eppinger         Professor
    Vivek Farias               Professor
    Charles H. Fine            Professor
    Negin Golrezaei            Assistant Professor
    Jonas Jonasson             Assistant Professor
    Retsef Levi                Professor
    Georgia Perakis            Professor
    Thomas Roemer              Senior Lecturer
    Zeynep Ton                 Adjunct Professor
    Nikolaos Trichakis         Associate Professor
    Tauhid Zaman               Associate Professor
    Yanchong Karen Zheng       Associate Professor

Non-M.I.T. Experience:

       Employer                           Position                          Date
      Educational Testing Service        Management Science Analyst        Summer 1972
      Simonds Saw and Steel              Management Science Analyst        Summer 1973
      University of Rochester            Research Assistant                Summer 1974
      University of Rochester            Instructor                        Summers 75-77
      University of Rochester            Visiting Research Associate       Summers 79-80
      Eastman Kodak                      Management Science Analyst        Summers 80-81
      Shanghai Institute of              Visiting Professor                July 82-Jan 83
        Mechanical Engineering
      Optiant                            Member of Advisory Board          2000 - 2009
      Servigistics                       Chief Scientist                   2001 – 2004
      JDA                                Chief Science Advisor             2005 - 2011
                                           1
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History of M.I.T. Appointments:

                   Rank                                      Beginning        Ending

Assistant Professor, Sloan School of Management              7/77             6/81
Associate Professor, Sloan School of Management              7/81             6/87
Professor, Sloan School of Management                        7/87
Leaders for Manufacturing Professor                          7/88             6/93
Deputy Dean                                                  9/90             8/93
Abraham J. Siegel Professor of Management                    10/95
Professor, Engineering Systems Division (joint)              7/99             6/15
Professor, Mechanical Engineering Department (joint)         7/05
Interim Director, Engineering Systems Division               9/12             12/13

Industrial Consulting Record:

      Firm and Dates
       Bausch and Lomb, 1976; Shycon Associates, 1980 - 1986; GTE Research Laboratories,
       1981 - 1982, 1984, 1986; Illinois Central Gulf Railroad, 1982; C.S. Draper Laboratory,
       1982 - 1984; ROLM Corporation, 1984, 1993; Palladian Software, 1986; GM Research
       Laboratories, 1986 – 1997, 2003 - 2004; W.R. Grace, 1987, 1991; Millipore, 1988;
       WearGuard, 1988; Alcoa, 1993 – 1994; Amazon.Com, 2001; Invistics, 2002 – 2005;
       Servigistics, 2001 – 2003; JDA, 2003 – 2011; Honeywell, 2003; FormFactor 2006;
       McMaster-Carr 2007; Sears Holdings, 2015; New York City, 2017; State of Michigan, 2017;
       Oniqua 2018.

Institute Activities:

      Staff Member of Operations Research Center, 1977 - present
      Undergraduate Advisor, 1978 - present
      Freshman Advisor, 1991- 1998, 2002 - 2005, 2008 - present
      Member of Sloan Program Committees: 1978 – 2013 (SB); 1978-1980 (SM); 1985-1987,
            1994 – 1998, 2005 - 2008 (PhD).
      Chair of Sloan Undergraduate Education Committee, 2010 - 2013
      Member of Committee on Academic Performance, 1984-1986
      Member of Committee on Discipline, 1995 – 1997
      Chair of Committee on Discipline, 1997 – 2001
      Member of Sloan Dean Search Committee, 1987
      Member of Freshman Housing Committee, 1989
      Acting CoDirector, Leaders for Manufacturing Program, 1989-1990
      Chair of Parking and Transportation Committee, 1989-1995
      Member of Parking and Transportation Committee, 2016 - 2019
      CoDirector, Leaders for Manufacturing Program, 1994 - 2001
      CoDirector, System Design and Management Program, 1999 - 2001
      Chair of Task Force on ROTC, 1995 – 1996
      Chair of Sloan Dean Search Committee, 1998
      Chair of MIT Faculty, 2001 – 2003
      Chair of Faculty Policy Committee, 2001 – 2003
                                           2
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      Member of Task Force on Campus Security, 2001
      Member, ad hoc committee on Access to and Disclosure of Scientific Information, 2002
      Chair, review committee on Faculty Newsletter, 2002
      Faculty Newsletter, Editorial Board, 2003 – 2009
      Member of Faculty Advisory Committee for MIT Presidential Search, 2004 - 2005
      Member of Committee on Undergraduate Admissions and Financial Aid, 2004 – 2006
      Chair of Committee on Undergraduate Admissions and Financial Aid, 2007 – 2008
      Member of ad hoc committee on MIT Disciplinary System, 2005
      Member of ad hoc committee on MLK Visiting Professor Program, 2006
      Member of Stellar faculty advisory committee, 2004 – 2010
      Chair of Search Committee for Dean of Graduate Student Office, 2007
      Chair of Dean for Graduate Education Search Advisory Committee, 2010
      Chair of Committee on Graduate Policy, 2008 – 2011
      Member of Commencement Committee, 2007 – 2011, 2018 – 2019
      Member of Search Committee for Director of Student Financial Services, 2008- 2009
      Chair of Search Committee for Director of Financial Aid, 2009 – 2010
      Member of MIT150 Steering Committee, 2008 – 2011
      Chair of ad hoc committee: Strategic Review of MIT Sloan’s Undergraduate Programs, 2009
      Member of Education Working Group of the MIT Planning Task Force, 2009
      Member of NGS3 faculty advisory group, 2009- 2011
      Member of Independent Activities Period (IAP) Subcommittee of the FPC, 2012
      Member of Committee on the Undergraduate Program, 2011 – 2013
      Chair of Committee on the Undergraduate Program, 2013 - 2014
      Co-chair of Task Force for Graduate Student Professional Development, 2012 – 2013
      Member of ROTC Oversight Committee, 2012-2014
      Member of Employee Assistance Program (EAP) Advisory Committee, 2015 - 2019
      Member of ad hoc Group on the Future of Libraries, 2015 – 2016
      Member of Committee on Campus Planning, 2016 – 2017
      Chair of Committee on Campus Planning, 2017 - 2018
      Member of Committee on Community Giving, 2016 – 2019
      Member of ad hoc Committee of Graduate Housing, 2017 – 2018
      Member of DAPER Advisory Board, 2017 – 2019
      Graduate Officer, IDSS, 2017 - 2019
      Member of Educational Effectiveness planning group, MIT Accreditation, 2018 – 2019
      Member of Committee on Student Life, 2018 - 2020

Professional Activities:

      Associate Editor - Operations Research, 1981-1986; Management Science, 1983-1986, 2001 -
            2003; Manufacturing & Service Operations Management, 1997 – 2008, 2015 - 2017
      Department Editor - Management Science, 1987-1991
      Area Editor – Operations Research, 2006 – 2008
      Editor - Manufacturing & Service Operations Management, 2009 - 2014
      Functional Area Editor - Interfaces, 1985-1986
      Editor, Edelman Special Issue, Interfaces, 1989 - 2007
      Member - INFORMS
      Member of Student Affairs Committee for ORSA, 1980-1983
      Edelman Award Committee, 1988 – 2007; 2011 & 2012 (Chair)
      INFORMS (formerly TIMS/ORSA) Publication Committee, 1990-1998, 2006 - 2008
      Vice President, Publications - INFORMS, 1994 – 1995
                                             3
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Awards:

     Fellow of the Manufacturing and Service Operations Management Society
     Fellow of the Production and Operations Management Society
     INFORMS Fellow
     1999 Billard Award for service at MIT
     2012 MSOM Distinguished Service Award
     Zaragoza Logistics Center: Medal of Distinction (2013)
     INFORMS Case Competition, First Prize (2005)
     M&SOM Best Paper Award (2017)
     Member of National Academy of Engineering


Subjects Taught:

15.062     Decision Models for Management
15.761     Operations Management
15.763     Practice of Operations Management
15.764     Theory of Operations Management
15.053     Introduction to Management Science
15.770J    Transportation and Logistics Analysis
15.066J    System Optimization and Analysis for Manufacturing
15.762     Operations Management: Models and Applications
15.762J    Supply Chain Planning
15.763J    Manufacturing Systems and Supply Chain Design
15.A03     Operations Research Can be Fun (freshmen seminar)
EC.733J    D Lab Supply Chains (15.772J)
15.762x    Supply Chains for Manufacturing I (MITx)
15.763x    Supply Chains for Manufacturing II (MITx)


Publications:

     Books

   1. Handbook in Operations Research and Management Science, Volume 4: Logistics of
      Production and Inventory, edited by S. C. Graves, A. H. G. Rinnooy Kan and P. H. Zipkin,
      North-Holland, Amsterdam, 1993.

   2. Handbook in Operations Research and Management Science, Volume 11: Supply Chain
      Management: Design, Coordination and Operation, edited by A. G. De Kok and S. C. Graves,
      Elsevier, Amsterdam, 2003.




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  Papers

3. Optimal Storage Assignment in Automatic Warehousing Systems, (with W.H. Hausman and
   L.B. Schwarz), Management Science, February 1976, Vol. 22, 629-638.

4. Single Cycle Continuous Review Policies for Arborescent Production/Inventory Systems,
    (with L.B. Schwarz), Management Science, January 1977, Vol. 23, 529-540.

5. Storage-Retrieval Interleaving in Automatic Warehousing Systems, (with W.H. Hausman and
    L.B. Schwarz), Management Science, May 1977, Vol. 23, 935-945.

6. A Note on 'Critical Ratio Scheduling: An Experimental Analysis', Management Science,
   August 1977, Vol. 23, 1358-1359.

7. On 'Production Runs for Multiple Products: The Two-Product Heuristic', (with R.W.
   Haessler), Management Science, July 1978, Vol. 24, 1194-1196.

8. Scheduling Policies for Automatic Warehousing Systems: Simulation Results, (with W.H.
    Hausman and L.B. Schwarz), AIIE Transactions, September 1978, Vol. 10, 260-270.

9. A Note on the Deterministic Demand Multi-Product Single-Machine Lot Scheduling Problem,
   Management Science, March 1979, Vol. 25, 276-280.

10. A Methodology for Studying the Dynamics of Extended Logistics Systems, (with J.
   Keilson), Naval Research Logistics Quarterly, July 1979, Vol. 26, 169-197.

11. An n-Constraint Formulation of the (Time Dependent) Traveling Salesman Problem, (with
    K.R. Fox and B. Gavish), Operations Research, July-August 1980, Vol. 28, 1018-1021.

12. The Multi-Product Production Cycling Problem, AIIE Transactions, September 1980,
    Vol. 12, 233-240.

13. A One-Product Production/Inventory Problem with Continuous Review Policy, (with B.
    Gavish), Operations Research, September-October 1980, Vol. 28, 1228-1236.

14. Production/Inventory Systems with a Stochastic Production Rate Under a Continuous Review
    Policy, (with B. Gavish), Computers and Operations Research, 1981, Vol. 8, 169-183.

15. Multistage Lot-Sizing: An Iterative Procedure, in TIMS Studies in Management Science,
    Multi-Level Production/Inventory Systems: Theory and Practice, edited by L.B. Schwarz,
    1981, Vol. 16, 95-109.

16. The Compensation Method Applied to a One-Product Production Inventory Model, (with J.
    Keilson), Mathematics of Operations Research, May 1981, Vol. 6, 246-262.

17. A Review of Production Scheduling, Operations Research, July-August 1981, Vol. 29, 646-
    675.



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18. Problem Formulations and Numerical Analysis in Integer Programming and Combinatorial
    Optimization, (with J.F. Shapiro), in Mathematical Programming with Data Perturbations I,
    edited by A.V. Fiacco, 1982, 131-148.

19. Using Lagrangean Techniques to Solve Hierarchical Production Planning Problems,
    Management Science, March 1982, Vol. 28, 260-275.

20. The Application of Queueing Theory to Continuous Perishable Inventory Systems,
    Management Science, April 1982, Vol. 28, 400-406.

21. A Multiple-Item Inventory Model with a Job Completion Criterion, Management Science,
    November 1982, Vol. 28, 1134-1137.

22. System Balance for Extended Logistic Systems, (with J. Keilson), Operations Research,
    March-April 1983, Vol. 31, 234-252.

23. An Integer Programming Procedure for Assembly System Design Problem, (with B. Lamar),
    Operations Research, May-June 1983, Vol. 31, 522-545.

24. Scheduling of Re-entrant Flow Shops, (with H.C. Meal, D. Stefek, and A.H. Zeghmi),
    Journal of Operations Management, August 1983, Vol. 3, 197-207.

25. A Simple Stochastic Model for Facility Planning in a Mental Health Care System, (with H.S.
    Leff, J. Natkins, and M. Senger), Interfaces, October 1983, Vol. 13, 101-110.

26. Deep-Draft Dredging of U.S. Coal Ports: A Cost-Benefit Analysis, (with M. Horwitch and
    E.H. Bowman), Policy Sciences, Vol. 17, 1984.

27. A Study of Production Smoothing in a Job Shop Environment, (with A.B. Cruickshanks and
    R.D. Drescher), Management Science, March 1984, Vol. 30, 368-380.

28. A Minimum Concave-Cost Dynamic Network Flow Problem with an Application to Lot-
    Sizing, (with J.B. Orlin), Networks, Vol. 15, 1985.

29. Description and Field Test of a Mental Health System Resource Allocation Model, (with H.S.
    Leff, J. Natkins, and J. Bryan), Administration in Mental Health, Fall 1985, Vol. 13, 43-68.

30. Continuous-Review Policies for a Multi-Echelon Inventory Problem with Stochastic
    Demand, (with M. DeBodt), Management Science, October 1985, Vol. 31, 1286-1299.

31. A Multi-Echelon Inventory Model for a Repairable Item with One-for-One Replenishment,
    Management Science, October 1985, Vol. 31, 1247-1256.

32. An LP Planning Model for a Mental Health Community Support System, (with H.S. Leff and
    M. Dada), Management Science, February 1986, Vol. 32, 139-155.

33. Overlapping Operations in Material Requirements Planning, (with M.M. Kostreva) Journal
    of Operations Management, Vol. 6, No. 3, May 1986, 283-294.


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34. Two-Stage Production Planning in a Dynamic Environment, (with H.C. Meal, S. Dasu, Y.
    Qiu), in Lecture Notes in Economics and Mathematical Systems, Multi-Stage Production
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    Springer-Verlag, Berlin, 1986, Vol. 266, 9-43.

35. A Tactical Planning Model for a Job Shop, Operations Research, July-August 1986, Vol. 34,
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36. Equipment Selection and Task Assignment for Multiproduct Assembly System Design, (with
    C.A. Holmes Redfield) International Journal of Flexible Manufacturing Systems, 1988, Vol.
    1, No. 1, pp. 31-50.

37. Safety Stocks in Manufacturing Systems, Journal of Manufacturing and Operations
    Management, 1988, Vol. 1, No. 1, pp. 67-101.

38. Determining the Spares and Staffing Level for a Repair Depot, Journal of Manufacturing and
    Operations Management, 1988, Vol. 1, No. 2, pp. 227-241.

39. A Composite Algorithm for the Concave-Cost Network Flow Problem, (with A.
    Balakrishnan) Networks, Vol. 19, 1989, pp. 175-202.

40. A Tactical Planning Model for Manufacturing Subcomponents of Mainframe Computers,
    (with C. Fine), Journal of Manufacturing and Operations Management, 1989, Vol. 2, No. 1,
    pp. 4-34.

41. A Model for the Configuration of Incoming WATS Lines, (with R. H. Blake and P. C.
    Santos), Queueing Systems, 1990, Vol. 7, No. 1, pp. 3-21.

42. Principles on the Benefits of Manufacturing Process Flexibility, (with W. C. Jordan),
    Management Science, April 1995, Vol. 41, No. 4, pp. 577 - 594.

43. A Multi-Echelon Inventory Model with Fixed Replenishment Intervals, Management
    Science, January 1996, Vol. 42, No. 1, pp. 1-18.

44. Cyclic Scheduling in a Stochastic Environment, (with H. Zhang), Operations Research,
    November-December 1997, Vol. 45, No. 6, pp. 894-903.

45. A Dynamic Model for Requirements Planning with Application to Supply Chain
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    Vol. 46, Supp. No. 3, pp. S35-S49.

46. OMAC: A System for Operations Modeling and Analysis, (with K. N. McKay and D. B.
    Kletter), Annals of OR, Vol. 72, 1997, pp. 241-264.

47. Reducing Flow Time in Aircraft Manufacturing, (with Jackson Chao), Production and
    Operations Management, Spring 1998, Vol. 7, No. 1, pp. 38-52.

48. A Single-Item Inventory Model for a Non-Stationary Demand Process, Manufacturing &
    Service Operations Management, 1999, Vol. 1, No. 1, pp. 50-61.

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49. Optimizing Strategic Safety Stock Placement in Supply Chains, (with S. P. Willems),
    Manufacturing & Service Operations Management, 2000, Vol. 2, No. 1, pp. 68 – 83.

50. Manufacturing Planning and Control, in Handbook of Applied Optimization, edited by P.
    Pardalos and M. Resende, Oxford University Press, New York, 2002, pp. 728 - 746.

51. Technology Portfolio Management: Optimizing Interdependent Projects over Multiple Time
    Periods, (with M. Dickinson and A. Thornton), IEEE Transactions on Engineering
    Management, Vol. 48, No. 4, November 2001, pp. 518-527.

52. Creating an Inventory Hedge for Markov-Modulated Poisson Demand: Application and
    Model, (with H. S. Abhyankar), Manufacturing & Service Operations Management, Fall
    2001, Vol. 3, No. 4, pp. 306 - 320.

53. Process Flexibility in Supply Chains, (with B. T. Tomlin), Management Science, July 2003,
    Volume 49, Number 7, pp. 907 - 919.

54. Supply Chain Design: Safety Stock Placement and Supply Chain Configuration, (with S.
    Willems), Chapter 3 in Handbook in Operations Research and Management Science, Volume
    11: Supply Chain Management: Design, Coordination and Operation,, edited by A. G. De
    Kok and S. C. Graves, Elsevier, Amsterdam, 2003, pp. 95 - 132.

55. Optimizing the Supply-Chain Configuration for New Products, (with S. Willems),
    Management Science, August 2005, Vol. 51, No. 8, pp. 1165 – 1180.

56. Logistics Network Design with Supplier Consolidation Hubs and Multiple Shipment Options,
    (with M.L.F. Cheong, R. Bhatnagar), Journal of Industrial and Management Optimization,
    Volume 3, Number 1, February 2007, pp. 51–69.

57. A Single-Product Inventory Model for Multiple Demand Classes, (with H. Arslan, T.
    Roemer) Management Science, September 2007, Vol. 53, No. 9, pp. 1486 – 1500.

58. Flexibility Principles, Chapter 3 in Building Intuition: Insights from Basic Operations
    Management Models and Principles, edited by D. Chhajed and T. J. Lowe, Springer
    Science+Business Media, LLC, New York, 2008, pp. 33 – 49.

59. Little’s Law, (with J. D. C. Little), Chapter 5 in Building Intuition: Insights from Basic
    Operations Management Models and Principles, edited by D. Chhajed and T. J. Lowe,
    Springer Science+Business Media, LLC, New York, 2008, pp. 81 – 100.

60. Strategic Inventory Placement in Supply Chains: Non-Stationary Demand, (with S. Willems)
    Manufacturing & Service Operations Management, Spring 2008, Vol. 10, No. 2, pp. 278 –
    287.

61. The Benefits of Re-Evaluating Real-Time Order Fulfillment Decisions, (with P. Xu and R.
    Allgor), Manufacturing & Service Operations Management, Spring 2009, Vol. 11, No. 2, pp
    340-355.

62. Strategic Safety Stocks in Supply Chains with Evolving Forecasts, (with Tor Schoenmeyr)
    Manufacturing & Service Operations Management, Fall 2009, Vol. 11, No. 4, pp 657-673.
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63. Optimal Planning Quantities for Product Transition, (with Hongmin Li and Donald
    Rosenfield), Production and Operations Management, March-April 2010, Vol. 19, No. 2, pp
    142 – 155.

64. Uncertainty and Production Planning, in Production and Inventories in the Extended
    Enterprise , edited by Karl G. Kempf, Pınar Keskinocak, and Reha Uzsoy, International
    Series in Operations Research & Management Science Volume 151, Springer US, 2011, pp
    83 – 101.

65. Setting Planned Lead Times for a Make-To-Order Production System under Master Schedule
    Smoothing, (with C. C. Teo and R. Bhatnagar), IIE Transaction, 2011, Vol. 43, No. 6, pp.
    399-414.

66. How to Catch a Tiger: Understanding Putting Performance on the PGA Tour, (with Douglas
    Fearing and Jason Acimovic), Journal of Quantitative Analysis in Sports, 2011, Vol. 7: Issue
    1, Article 5. DOI: 10.2202/1559-0410.1268.

67. Pricing Decisions during Inter-generational Product Transitions, (with Hongmin Li)
    Production and Operations Management, January-February 2012, Vol. 21, No. 1, pp 14-28.

68. Remanufacturing and Energy Savings, (with T. Gutowski, S. Sahni, and A. Boustani),
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69. An Application of Master Schedule Smoothing and Planned Lead Time Control, (with C. C.
    Teo and R. Bhatnagar), Production and Operations Management, March-April 2012, Vol.
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70. Ship-Pack Optimization in a Two-Echelon Distribution System, (with Naijun Wen and Justin
    Ren), European Journal of Operational Research, August 2012, Vol. 220, Issue 3, pp. 777-
    785.

71. Optimal Capacity Conversion for Product Transitions under High Service Requirements,
    (with Hongmin Li and Woonghee Tim Huh), Manufacturing & Service Operations
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72. A Forecast-driven Tactical Planning Model for a Serial Manufacturing Systems, (with Pallav
    Chhaochhria) International Journal of Production Research, December 2013, 51:23-24, pp.
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73. Water Desalination Supply Chain Modeling and Optimization: The Case of Saudi Arabia,
    (with Malak T. Al-Nory) IDA Journal of Desalination and Water Reuse, Vol. 5, No. 2 (2013)
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74. Supply Chain Design for the Global Expansion of Manufacturing Capacity in Emerging
    Markets, (with Stefan Weiler, Dayán Páez, Jung-Hoon Chun, Gisela Lanza), CIRP Journal of
    Manufacturing Science and Technology, Vol. 4, No. 3 (265-280), 2011.



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75. A Network Flow Approach for Tactical Resource Planning in Outpatient Clinics, (with Thu
    Ba T. Nguyen, Appa Iyer Sivakumar), Health Care Management Science, Vol. 18, No. 2
    (2015): pp.124-136.

76. Desalination Supply Chain Decision Analysis and Optimization, (with Malak T. Al-Nory,
    Alexander Brodsky, Burçin Bozkaya), Desalination Vol. 347 (2014), pp. 144-157.

77. Making Better Fulfillment Decisions on the Fly in and Online Retail Environment, (with J.
    Acimovic), Manufacturing & Service Operations Management, Winter 2015, Vol. 17, No. 1,
    pp 34-51.

78. Setting Optimal Production Lot Sizes and Planned Lead Times in a Job Shop System, (with
    Rong Yuan), International Journal of Production Research, (2016), Vol. 54, Issue 20, pp
    6105 - 6120. DOI: 10.1080/00207543.2015.1073859.

79. OM Forum - Practice-Based Research in Operations Management: What It Is, Why Do It,
    Related Challenges, and How to Overcome Them, (with Jeremie Gallien and Alan Scheller-
    Wolf) Manufacturing & Service Operations Management, Winter 2016, Vol. 18, No. 1, pp 5
    - 14. http://dx.doi.org/10.1287/msom.2015.0566

80. Strategic Safety Stock Placement in Supply Chains with Capacity Constraints (with Tor
    Schoenmeyr) Manufacturing & Service Operations Management, Summer 2016, Vol. 18,
    No. 3, pp 445 - 460. http://dx.doi.org/10.1287/msom.2016.0577.

81. Inventory Management in a Consumer Electronics Closed-Loop Supply Chain, (with Andre
    Calmon), Manufacturing & Service Operations Management, Fall 2017, Vol. 19, No. 4, pp
    568 - 585. https://doi.org/10.1287/msom.2017.0622

82. Scheduling Rules to Achieve Lead-time Targets in Outpatient Appointment Systems, (with
    Thu Ba T. Nguyen, Appa Iyer Sivakumar), Health Care Management Science, December
    2017, Vol. 20, No. 4, pp 578-589. http://dx.doi.org/10.1007/s10729-016-9374-2.

83. No Magic Bullet: A Theory-based Meta-analysis of Markov Transition Probabilities in
    Studies of Service Systems for Persons with Serious Mental Illness, (with H. Stephen Leff,
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 Proceedings

1. A Mathematical Programming Procedure for Equipment Selection and System Evaluation in
   Programmable Assembly, (with D.E. Whitney), Proceedings of the 18th IEEE Conference on
   Decision and Control, Fort Lauderdale, Florida, December 1979, 531-536.

2. Extensions to a Tactical Planning Model for a Job Shop, Proceedings of the 27th IEEE
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3. Using Simulated Annealing to Select Least-Cost Assembly Sequences, (with J. M. Milner and
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4. Spatial Yield Modeling for Semiconductor Wafers, (with A. I. Mirza, G. O’ Donoghue, and A.
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5. Strategic Safety Stock Placement in Supply Chains, (with S. Willems) Proceedings of the
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6. Optimizing Monsanto’s Supply Chain under Uncertain Demand, (with C. Gutierrez, M.
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7. Optimizing the Supply-Chain Configuration for New Products, (with S. P. Willems),
   Proceedings of the 2000 MSOM Conference, Ann Arbor, MI, 2000, 8 pp.

8. Tactical Shipping and Scheduling at Polaroid with Dual Lead-Times, (with Kermit Threatte),
   Proceedings of the 2002 SMA Conference, Singapore, 2002, 8 pp.

9. A Base Stock Inventory Model for a Remanufacturable Product, Proceedings of the 2003
   SMA Conference, Singapore, 2003, 7 pp.

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   11. Traditional Inventory Models in an E-Retailing Setting: A Two-Stage Serial System with
       Space Constraints, (with R. Allgor and P. Xu), Proceedings of 2004 SMA Conference,
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   12. Logistics Network Design with Differentiated Delivery Lead-Time: Benefits and Insights,
       (with M.L.F. Cheong, and R. Bhatnagar), Proceedings of 2005 SMA Conference, Singapore,
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   13. An Extension to the Tactical Planning Model for a Job Shop: Continuous-Time Control,
       (with C. C. Teo, and R. Bhatnagar), Proceedings of 2005 SMA Conference, Singapore, 8 pp.

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   15. The Benefits of Re-Evaluating Real Time Fulfillment Decisions, (with P. Xu and R. Allgor),
       Proceedings of 2005 SMA Conference, Singapore, 7 pp.

   16. Performance Analysis of Order Fulfillment for Low Demand Items in E-tailing, (with P.
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   17. Capacity Planning in a General Supply Chain with Multiple Contract Types, (with X.
       Huang), Proceedings of 2007 SMA Conference, Singapore, 6 pp.

   18. Reusing Personal Computer Devices – Good or Bad for the Environment?, (with S. Sahni, A.
       Boustani and T. Gutowski) IEEE/International Symposium on Sustainable Systems and
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   19. Appliance Remanufacturing and Life Cycle Energy and Economic Savings, (with S. Sahni,
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   20. Water Desalination Supply Chain Modeling and Optimization, (with Malak T. Al-Nory),
       Data Engineering Workshops (ICDEW), 2013 IEEE 29th International Conference, April
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     Working Papers and Technical Reports

W1. The Travelling Salesman Problem and Related Problems, (with B. Gavish), Operations
    Research Center, M.I.T., Working Paper No. 078-78, July 1978, revised and retitled, March
    1981.

W2. A Research Agenda for Models to Plan and Schedule Manufacturing Systems, (with C.
    Abraham, B. Dietrich, W. Maxwell, and C. Yano), Sloan School of Management, M.I.T.,
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    School of Management, M.I.T. Working Paper No. 3296-91-MSA, May 1991 (GM Research
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    Jordan), Sloan School of Management, M.I.T. Working Paper No. 3297-91-MSA, May 1991
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W5. Creating an Inventory Hedge for Markov-Modulated Poisson Demand: Application and Model,
    (with H. S. Abhyankar), January 2000, long version. (short version published in M&SOM.

W6. Optimizing Strategic Safety Stock Placement in Supply Chains, (with S. Willems), August
    1998, long version. (short version published in M&SOM).

W7. Strategic Inventory Placement in Supply Chains: Nonstationary Demand, (with S. Willems),
    August 2002 working paper (substantially revised version published in M&SOM).

W8. A Constant-Inventory Tactical Planning Model for a Job Shop, (with J. S. Hollywood),
    working paper, January 2001, revised March 2004, January 2006, 36 pp.

W9. A Dual-Channel Vendor-Buyer System with Minimum Purchase Commitment, with (Y. Wang
    and R. Bhatnagar), working paper, June 2008, 33 pp.

W10. Capacity Planning in a General Supply Chain with Multiple Contract Types – Single Period
    Model, (with Xin Huang), June 2008, revised September 2008, 41 pp

W11. Ship-pack Optimization in a Two-echelon Distribution System with Product Obsolescence,
    (with Elnaz Karimi and Z. Justin Ren). Available at SSRN 3242756 (2018).

W12. Coordination of Multi-Echelon Supply Chains Using the Guaranteed Service
    Framework, (with Tor Schoenmeyr). Available at SSRN 3243806 (2018).

W13. Warranty Matching in a Consumer Electronics Closed-Loop Supply Chain, (with Andre P.
    Calmon and Stef Lemmens). Available at SSRN 3357683 (2019).


Teaching Cases

1.   Steel Works, Inc, prepared by David Kletter, 1996

2.   Meditech Surgical, prepared by Bryan Gilpin, 1995.

3.   Apollo Paper Company, prepared by Charles DeWitt, 1995.

4.   Use of a Queuing Model to Design a Lean System, prepared by Jamie Flinchbaugh, 2002

5.   The Challenge at Instron, prepared by Dan Wheeler, 2000.

6.   H. C. Starck, Inc., prepared by Thomas J. Carroll, 2000.

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7.    Ford Pan-European Durable Containers, prepared by Carmelo Anthony Palumbo, 2002.

8.    Reebok NFL Replica Jerseys: A Case for Postponement, prepared by John C. W. Parsons,
      2005.

9.    American Axle and Manufacturing: Determining the Optimal Number of Bar Lengths for Axle
      Shaft Production, prepared by Heath Holtz, 2005.

10.   Production Planning for Chemical Manufacturing, prepared by Shardul Phadnis, 2007.


Invited Presentations (Partial List up to 1992):

1.    "Improved Scheduling for Automatic Warehousing Systems: Simulation Tests," (with W.H.
      Hausman and L.B. Schwarz), Joint ORSA/TIMS National Meeting, New York, New York,
      May 1978.

2.    "Logistic Failure vs. Mission Failure in Reliability Specifications," (with J. Keilson),
      Department of Defense Acquisition Research Symposium, Hershey, Pennsylvania, June 1978.

3.    "A Methodology for Studying the Dynamics of Extended Logistics Systems," (with J. Keilson),
      Conference on Multi-Echelon Inventory Systems, George Washington University, November
      1978.

4.    "Multistage Lot-Sizing: An Iterative Procedure," Joint ORSA/TIMS Meeting, New Orleans,
      May 1979 (Also Purdue, April 1979).

5.    "The Introduction of Feedback into a Hierarchical Production Planning System," TIMS XXIV
      International Meeting, Honolulu, June 1979.

6.    "Production Scheduling: Theory and Practice," TIMS XXIV International Meeting, Honolulu,
      June 1979.

7.    "System Balance for Extended Logistics Systems," (with J. Keilson), Conference on Multi-
      Echelon Inventory Systems, Philadelphia, Pennsylvania, November 1979.

8.    "Base Stock Systems for Multistage Planning," Conference on Multi-Echelon Inventory
      Systems, Chapel Hill, North Carolina, June 1980.

9.    "Optimization-Based Approaches to Vehicle Routing Problems," (with T.L. Magnanti), Joint
      ORSA/TIMS National Meeting, Colorado Springs, Colorado, November 1980.

10.   "A Mathematical Programming Heuristic for Manufacturing System Design and Evaluation,"
      (with B.W. Lamar) CORS/TIMS/ORSA National Meeting, Toronto, May 1981.

11.   "The Dynamics of a Multiechelon Inventory System for a Repairable Item," (with J. Keilson),
      ORSA/TIMS National Meeting, Houston, October 1981.


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12.   "A Study of Production Smoothing in a Job Shop," (with A.B. Cruickshanks and R.D.
      Drescher), TIMS/ORSA National Meeting, Detroit, April 1982.

13.   "Scheduling of Re-entrant Flow Shops," (with H.C. Meal, D. Stefek, A.H. Zeghmi),
      TIMS/ORSA National Meeting, Chicago, May 1983.

14.   "An LP Planning Model for a Mental Health Community Support System," (with M. Dada and
      H.S. Leff), ORSA/TIMS National Meeting, Orlando, November 1983.

15.   "Operational Analysis of a Job Shop," TIMS/ORSA National Meeting, San Francisco, May
      1984.

16.   "Two-Stage Production Planning in a Dynamic Environment," (with H.C. Meal), ORSA/TIMS
      National Meeting, Dallas, November 1984.

17.   "Determining the Spares and Staffing Levels for a Repair Depot," TIMS/ORSA National
      Meeting, Boston, May 1985.

18.   "Developing and Use of a Production Flow Plan," ORSA/TIMS National Meeting, Atlanta,
      November 1985.

19.   "Safety Stocks in Manufacturing Systems," ORSA/TIMS National Meeting, Miami, October
      1986.

20.   "Equipment Selection and Task Assignment for Multiproduct Assembly System Design," (with
      C.A. Holmes), ORSA/TIMS National Meeting, St. Louis, October 1987.

21.   "A Multiechelon Inventory Model for Fixed Reorder Intervals," TIMS/ORSA National
      Meeting, Washington, DC, April 1988.

22.   "Production Planning in a Dynamic Environment," ORSA/TIMS National Meeting, Denver,
      October 1988. (Also, Yale, November 1988, Carnegie-Mellon, April 1989.)

23.   "Cyclic Schedules in Stochastic Environments," CORS/TIMS/ORSA National Meeting,
      Vancouver, Canada, May 1989.

24.   "Production Planning over a Multiplant Operation," ORSA/TIMS National Meeting,
      Philadelphia, October 1990.

25.   "Principles on the Benefits of Manufacturing Flexibility," (with W. C. Jordan), TIMS/ORSA
      National Meeting, Nashville, May 1991. (Also, University of Minnesota, February 1991, Ohio
      State, November 1991).

26.   "Some Thoughts on Inventory Modeling and Diagnostics," UCLA Conference in Honor of El
      Buffa, Los Angeles, November 1991.

27.   "Reducing Flow Time in Aircraft Manufacturing," (with Jackson Chao), ORSA/TIMS National
      Meeting, San Francisco, October 1992.

Thesis Supervision (Partial List):
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R. Blake, Allocation of Items under Fixed Capacity, S.M., June 1978 (reader).

M. Pendrock, A Hierarchical Approach to Integrated Production and Distribution Planning, S.M.
June 1978 (reader).

A. Dutra, The Impact of Multiple Objectives on Strategic Decision Making: A Case Analysis of the
Sloan Management Review, S.M., June 1979.

N. Zarin, A Mathematical Model of the Deinstitutionalization of the Cambridge-Somerville Mental
Health Region, S.M., June 1979.

M. Cross, Business Planning for Small Manufacturing Companies, S.M., June 1980.

B. Lamar, Optimal Machine Selection and Task Assignment in an Assembly System Design
Problem, S.M., September 1980.

M. Ibrahim, Modeling and Analysis of Automated Manufacturing Systems with Focus on
Equivalence and Computational Complexity, S.M., May 1981.

M. Neel, A Contract Engineering Model, A Work Force Management Tool, S.M., April 1981.

T. Quinlan, Management Information and Control Systems for Hospital Supplies: A Case Study,
S.M., June 1981.

A.B. Cruickshanks and R.D. Drescher, A Case Study of Production Smoothing in a Job Shop
Environment, Joint S.M., February 1982.

D. Stefek, A Periodic Production Scheduling Problem, S.M., June 1982.

C. Olson, A Prototype System for Hierarchical Production Planning, S.M., June 1983.

D. Choing, The Role of Buffer Stocks in a Re-Entrant Flow Shop, S.M., June 1983.

R. Gould, Quantitative Tools for the Optimization of Selling Efforts in Metropolitan Cable
Television Systems, S.M., February 1984.

P.C. Santos, An Optimization Model for the Configuration of Incoming WATS Lines, S.M., June
1984.

A.H. Zeghmi, Inventory Buffers for a Production Line with Controllable Production Rates, Ph.D.,
September 1985.

C.A. Holmes, Equipment Selection and Task Assignment for Multiproduct Assembly System
Design, S.M., January 1987.

S.H. Parrish, Extensions to a Model for Tactical Planning in a Job Shop Environment, S.M., June
1987.


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S. Mihara, A Tactical Planning Model for a Job Shop with Unreliable Work Stations and Capacity
Constraints, S.M., January 1988.

J. Wagner, Stochastic Programming with Recourse Applied to Groundwater Quality Management,
Ph.D., June 1988.

G. Sy-Quia, A Study of Production Loading in a Job Shop, S.M., June 1988.

L. Dickey, Where Should Safety Stock be Held to Minimize Costs and Maximize Flexibility? S.M.,
May 1989.

G. Amblard, Rationale for the Use of Subassemblies in Production Systems: A Comparative Look at
Sequential and Arborescent Systems, S.M., May 1989.

C. Cooprider, Equipment Selection and Assembly System Design Under Multiple Cost Scenarios,
S.M., June 1989.

E. Reifschneider, Scheduling Jobs in a Multi-Station Plant, B.S., June 1989.

S. Pappu, A Dual-Ascent Algorithm for Finding the Optimal Testing Strategy, S.M., June 1989.

H. Zhang, Cyclic Scheduling in a Stochastic Environment, Ph. D., May 1990.

C. Fu, An Investigation of the Development of Product Design Specifications: A Conceptual
Development and a Case Study, S.M., June 1990.

R. Munroe, A Framework for Product Development Based on Quality Function Deployment,
Traditional Decision-Making Theory, and Design Practice, S.M., June 1990.

R. M. Coleman, The Effects of Design, Manufacturing Processes, and Operations Management on
the Assembly of Aircraft Composite Structure, S.M., June 1991.

C. Papouras, Lead Time and Inventory Reduction in Batch Chemical Manufacturing, S.M., June
1991.

T. Taylor, Evaluating and Selecting Manufacturing Flexibility, S.M., June 1991.

K. Elsesser, The Validation of a Simulation Model for the Allocation of Mental Health Services,
S.M., June 1991.

J. Chao, Analysis of Variance Impact on Manufacturing Flow Time, S.M., June 1991.

B. Koetje, Improving Cycle Times in Batch Chemical Operations, S.M., June 1991.

C. Athaide, Capacity Allocation and Safety Stocks in Manufacturing Systems, Ph. D., June 1992.

M. Burke, Optimizing Product Life Cycles in the U. S. Auto Industry, S.M., June 1992.

C. Dennison, Electric Shock Risks in an Electric Vehicle, S.M., June 1992.

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D. Hager, Applying Continuous-Flow Manufacturing Principles to a Low-Volume Electronics
Manufacturer, S.M., June 1992.

L. Hsu, The Design of an Assembly Line with Stochastic Task Times, S.M., June 1992.

C. Jutte, Lead Time Reduction for Multiple Step Batch Chemical Processes, S.M., June 1992.

T. Mock, Reducing Process Variability in Chemical Batch Manufacturing, S.M., June 1992.

S. Pappu, Production Planning with Due-Date Constraints, Ph. D., June 1992.

L. Spiridigliozzi, Precision Laser Micromachining of Ceramics, S.M., June 1992.

K. D. Bartelson, Analysis and Redesign of the Production System Structure for 757 and 737 Aircraft
Doors, S.M., June 1993.

M. J. Blatz, Designing Measurement Systems in a Manufacturing Environment, S.M., June 1993.

M. Chrzanowski, Development of a Manufacturing & Business Planning Tool to Aid in Forward
Planning, S.M., June 1993.

W. B. Hetzel, Cycle Time Reduction and Strategic Inventory Placement Across a Multistage Process,
S.M., June 1993.

J. A. Rennert, Measuring Customer-Driven Manufacturing Process Improvement in a
Multidivisional Corporation, S.M., June 1993.

D. J. Seitelman, Scheduling Employees of a Manufacturing Facility, S.M., June 1993.

S. K. Jacobsmeyer, Implementing Flow Time Reduction Using Process Mapping and Innovation,
S.M., June 1994.

D. B. Kletter, Determining Production Lot Sizes and Safety Stocks for an Automobile Stamping
Plant, S.M., June 1994.

J. Ku, Microprocessor Manufacturing Throughput Time Variability, S.M., June 1994.

L. R. Oliver, Process and Productivity Improvements through Bottleneck Reduction and Design of
Experiments, S.M., June 1994.

B. K. Parks, Cost and Lead Time Reduction in the Manufacture of Injection Molding Tools, S.M.,
June 1994.

M. A. Raftery, Using the Seven-Step Method to Reduce Defects in a Polymer Sheet Making Process,
S.M., June 1994.

K. Y. Tan, Minimizing the Impact of Model Changeover at a Medium-Mix High-Volume Cellular-
Telephone Production Line, S.M., June 1994.

C. M. Dewitt; A Holistic Approach to Automotive Powder Coating, S.M., June 1995.
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K. L. Homsi, Information Flow and Demand Forecasting Issues in a Complex Supply Chain, S.M.,
June 1995.

P. Gallagher, Molding Process Development for Fuel Cell Components, S.M., May 1995.

A. E. Koszarek, Module Based Configuration Definition to Enable Design Re-Use and
Manufacturing System Simplification in the Commercial Aircraft Industry, S.M., June 1995.

A. I. Mirza, Spatial Yield Modeling for Semiconductor Wafers, S.M., May, 1995.

T. R. Wadewitz, Analysis of Investments in Process Control Tools: Laser Scanners Used For On-
Line Inspection in a Polyester Sheet Production Process, S.M., June, 1995.

M. I. Zeni, Five Axis Machining of Stamping Dies, S.M., May 1995.

Roberta Bailey, A Data-Driven Approach to Improving Capacity Utilization of Semiconductor Test
Equipment, S.M., June 1996.

James Beuerle, A Study of Electrostatically Applied Powder Paint in the Automotive Industry, S.M.,
June 1996.

Michael Carnette, Implementing Internal Supply Chain Improvements, S.M., June 1996.

Barrett Crane, Cycle Time and Cost Reduction in a Low Volume Manufacturing Environment, S.M.,
May 1996

Audrey Dima, Improving the Recovery Process of Circuit Boards in a One-Time-Use Camera, S.M.,
June 1996

Mark MacLean, Implementing Lean Manufacturing in an Automobile Plant Pilot Project, S.M., June
1996

Cristian Gutierrez, Development and Application of a Linear Programming Model to Optimize
Production and Distribution of a Manufacturing Company, S.M., February 1996

Sumer Johal, A Simulation-Based Study of the Cost and Performance Trade-Offs in a
Semiconductor IC Manufacturing Facility, S.M., May 1996

Sean Willems, Strategic Safety Stock Placement in Integrated Production/Distribution Systems,
S.M., May 1996

Rebecca D’Amato, Allocating Housing Resources for a Psychiatric Program, S.M., June 1996

David B. Kletter, Planning and Control of an Unreliable Machine in a Multi-Item Production-
Inventory System, Ph.D., June 1996

Jeffrey Alcalde, The Design and Implementation of a Synchronous Manufacturing System In a Job-
Shop Environment, S.M., June 1997.

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Liana Alvarez, Design and Implementation of Cellular Manufacturing in a Job Shop Environment,
S.M., June 1997.

Daniel Crocker, Analysis of Global Manufacturing Strategies for High Volume High Technology
Products, S.M., June 1997.

Jennifer Felch, Supply Chain Modeling for Inventory Analysis, S.M., June 1997.

Joetta L. George, Applying the Theory of Constraints in a High Volume Manufacturing System to
Increase Throughput and Performance, S.M., June 1997.

Steven Harman, Implementation of Lean Manufacturing and One-Piece Flow at Allied Signal
Aerospace, S.M., June 1997.

Thomas Jacob, Root Cause Analysis of Low On-Time Delivery Performance at a Computer
Manufacturing Plant, S.M., June 1997.

Michael Miller, Business System Improvements Through Recognition of Process Variability, S.M.,
June 1997.

Brian E. Black, Utilizing the Principles and Implications of the Base Stock Model to Improve Supply
Chain Performance, S.M., June 1998.

Douglas Bohn, Computer Modeling of a Continuous Manufacturing Process, S.M., June 1998.

R. Lawrence Coughlin, III, Optimization and Measurement of a World-Wide Supply Chain, S.M.,
June 1998.

Judson Graham, Application of Theory of Constraints and Process Control Theory to Multi-Stage
Manufacturing Systems, S.M., June 1998.

Brian Hintzman, Capacity Analysis for Multi-Product, Parallel-Site Aluminum Ingot Production,
S.M., June 1998.

Brent Johnson, The Soft Side of the Toyota Production Systems is The Hard Side, S.M., June 1998.

Brian Klippel, A Design Methodology for Automotive Component Manufacturing Systems, S.M.,
June 1998.

David Medrow, Cost Modeling of a Manufacturing Process, S.M., June 1998.

Nicholas Purzer, Managing the Supply, Release, and Machining of Material Within an Aerospace
Component Shop, S.M., June 1998.

John D. Ruark, Implementing Reusable Solvers: An Object-Oriented Framework for Operations
Research Algorithms, Ph.D., June 1998.

Sean P. Willems, Two Papers in Supply Chain Design: Supply Chain Configuration and Part
Selection in Multigeneration Products, Ph.D., February 1999.

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Michael Dickinson, Technology Portfolio Management: Optimizing Interdependent Projects Over
Multiple Time Periods, S.M., June 1999.

Thomas Furey, Decision Elements in the Design of a Consumer Electronics Assembly Plant, S.M.,
June 1999.

Mark Graban, An Inventory Planning Methodology for a Semiconductor Manufacturer with
Significant Sources of Variability, S.M., June 1999.

Louis Herena, Application of Manufacturing Tools to the DNA Sequencing Process, S.M., June
1999.

C. Gregory Kandare, Production/Inventory Policies for a Parallel Machine Manufacturing System,
S.M., June 1999.

John Kang, Applying Six Sigma to Tenneco Automotive Manufacturing, S.M., June 1999.

Michael Kimber, Definition and Implementation of a Visual Inventory Management System, S.M.,
June 1999.

Adam King, A Method of Comparing the Costs of Platform and Unique Product Design, S.M., June
1999.

Nestor Macias, Engineering Design Leadtime Drivers Analysis, S.M., June 1999.

Michael Milby, Methodology for Sizing Finished Goods Inventories for a Vinyl Siding Extrusion
Plant, S.M., June 1999.

Leslie Rudolph, Development of a Decision Framework and a Knowledge Management System for
Make/Buy Determinations in Manufacturing, S.M., June 1999.

Thor Sewell, Understanding and Controlling Risk in Product Development, Specifically in New
Technology Procurement, at an Automatic Test Equipment Manufacturer, S.M., June 1999.

Hemant Taneja, A Tactical Planning Model for a Semiconductor Wafer Fabrication Facility, S.M.,
June 1999.

Hari S. Abhyankar, Inventory Control for High Technology Capital Equipment Firms, Ph.D.
February 2000.

Matthew F. Bromberg, Modeling Design Rework in a Product Development Process, S.M., June
2000.

Thomas J. Carroll, Using Postponement to Move from Job-Shop to a Mixed MRP/Job Shop
Environment S.M., June 2000.

John S. Hollywood, Performance Evaluation and Optimization Models for Processing Networks with
Queue-Dependent Production Quantities, Ph. D., June 2000.


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James Ryan Horn, Design and Operational Enhancements for a Batch Process Driven Supply Chain,
S.M., June 2000.

Mitchell A. Malone, Analysis of a High-End Memory Supply Chain? Dram Vendors to Final
Assembly, S.M., June 2000.

Scott M. Pagendarm, The Use of Strategic Inventory and Packaging Postponement to Address Daily
Demand Variability and Seasonal Demand Patterns in a Demand Flow Environment, S.M., June
2000.

Olapeju A. Popoola, Development of a Methodology for the Rapid Implementation of a Sustainable
Lean Manufacturing System, S.M., June 2000.

Brian T. Tomlin, Supply Chain Design: Capacity, Flexibility and Wholesale Price Strategies, Ph.D.,
February 2000.

Brian A. Urkiel, The Analysis and Optimization of the Alcoa Mill Products Supply Chain for
European Customers, S.M., June 2000.

James A. Wolters, II, Optimizing the Assembly Sequence of an Aerospace Manufacturing Process,
S.M., June 2000.

Aviv Cohen, Order Assignment Heuristic in a Build to Order Environment, S.M., June 2001.

Lynn S. Delisle, Breaking Through the Quality Ceiling, S.M., June 2001.

Greg K. Gerstenzang, A Computer Model to Facilitate the Implementation of Lean Manufacturing
Principles in Aluminum Products Manufacturing S.M., June 2001.

Jonathan E. Howe, Minimizing the Risk Qualification Test Wafers Have On The Manufacturing
Readiness of a New Microprocessor Fabrication Site Through Data Driven Processes, S.M., June
2001.

Jayson S. Kunzler, Order Fulfillment Model for Medical Equipment Installation Materials, S.M.,
June 2001.

Alison L. Page, Forecasting Mix-Sensitive Semiconductor Fabrication Tool Set Requirements Under
Demand Uncertainty, S.M., June 2001.

Matthew W. Street, Quick Response Inventory Replenishment for a Photographic Material Supplier,
S.M., June 2001.

Kalyan R. Tadikonda, Fuel Cells - Manufacturing Strategy for Emerging Technologies, S.M., June
2001.

Kermit Threatte, Tactical Shipping and Scheduling at Polaroid with Dual Lead Times, S.M., June
2001.

Andrea L. Vlasak, Integration of Third Party Logistics Providers within the Distribution Network,
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                        CERTIFICATE OF SERVICE

   I hereby certify that on this, the 16th day of December 2019, I electronically

filed the foregoing EXPERT REPORT OF STEPHEN C. GRAVES with the

Clerk of Court using the CM/ECF system, which will automatically send

notification of such filing to Counsel of Record:


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